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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

                                           PUBLIC VERSION:
   JAZZ PHARMACEUTICALS, INC.,             FILED SEPTEMBER 13, 2022


              Plaintiff,
                                           C.A. No. 21-691-GBW
                       v.

   AVADEL CNS PHARMACEUTICALS, LLC,

              Defendant.




           DEFENDANT AVADEL CNS PHARMACEUTICALS, LLC’S
             MOTION TO EXPEDITE CONSIDERATION OF ITS
       RENEWED MOTION FOR PARTIAL JUDGMENT ON THE PLEADINGS
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 I.     INTRODUCTION

        Cognizant both of this Court’s heavy case load and the recent re-assignment of this case to

 a new District Judge, Avadel is nonetheless compelled to respectfully request expedited

 consideration of Avadel’s pending Renewed Motion for Partial Judgment on the Pleadings

 pursuant to Fed. R. Civ. P. 12(c) (D.I. 117) (“Avadel’s 12(c) Motion”) seeking delisting of Jazz’s

 U.S. Patent No. 8,731,963 (the “’963 patent”) from the FDA Orange Book. Jazz informed Avadel

 that it opposes. As explained further below, Jazz is using the improperly-listed ’963 patent to

 block Avadel from obtaining final FDA approval of LUMRYZ®, Avadel’s novel oxybate drug

 formulation for the treatment of narcolepsy. The fact that Jazz resists the prompt resolution of

 Avadel’s fully briefed 12(c) Motion says it all. Jazz knows that justice delayed is justice denied

 for Avadel. Put simply, Avadel is unduly harmed each day that the ’963 patent remains improperly

 listed and the FDA is blocked from approving Avadel’s novel narcolepsy treatment. As a result

 of the delay in getting its only revenue-generating product to market, Avadel has already had to

 cut nearly half of its workforce,                          REDACTED

                . Ex. A.

        This Court has expedited the resolution of motions in similar circumstances such as this,

 where accelerated decision-making can ameliorate undue harm to one party without unfairly

 prejudicing the other. See, e.g., Ex. B (Westinghouse Air Brake Tech. Corp. v. Siemens Industry,

 Inc., C.A. No. 17-1687-LPS, D.I. 94) (Oral Order granting request to expedite consideration of

 motion to strike); Ex. C (C.A. No. 17-1687-LPS, D.I. 93) (letter requesting expedited relief); Ex.

 D (EIS Inc. v. IntiHealth Ger GmbH, C.A. No. 19-1227-LPS, D.I. 145) (Oral Order granting

 request for expedited briefing on motion for temporary restraining order and preliminary

 injunction); Ex. E (D.I. 141, EIS letter requesting expedited briefing); Ex. F (AstraZeneca

 Pharmaceuticals LP v. Becerra, C.A. No. 21-27-LPS, D.I. 32) at 22 (Judge Stark indicating that
                                                 1
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 the Court is “leaning towards expediting” briefing on Plaintiff’s summary judgment motion

 challenging HHS advisory opinion); Ex. G (AstraZeneca, C.A. No. 21-27-LPS, D.I. 71) (Oral

 Order expediting hearing on Plaintiff’s motion). Indeed, shortly before the reassignment of this

 case, Judge Noreika ordered expedited briefing on Avadel’s 12(c) Motion, requiring Jazz to file a

 substantive opposition to Avadel’s renewed 12(c) motion in two business days. D.I. 151.

        For the reasons that follow, Avadel respectfully requests that the Court exercise its inherent

 discretion to manage its docket and expedite consideration of Avadel’s 12(c) Motion consistent

 with FEDERAL RULE OF CIVIL PROCEDURE 1.

 II.    BACKGROUND: THE HATCH-WAXMAN ACT, THE PARTIES’ RESPECTIVE
        PRODUCTS, JAZZ’S ’963 PATENT, AND AVADEL’S DELISTING MOTION

        Avadel is a company dedicated to improving the lives of patients suffering from

 narcolepsy, a condition characterized by disrupted sleep at night and uncontrollable sleep periods

 during the day. Avadel has spent years and hundreds of millions of dollars1 developing a novel

 drug called LUMRYZ, which allows narcoleptic patients to take a single dose of oxybate at

 bedtime to help them fall asleep and stay asleep throughout the night. Existing oxybate treatments

 for narcolepsy, such as Jazz’s Xyrem product, require patients to take one dose at bedtime and set

 an alarm to forcefully awaken partway through the night to take a second dose. As the first once-

 nightly oxybate product, LUMRYZ stands to eliminate the burden and inherent safety and

 compliance problems of twice-nightly oxybate products like Xyrem, and address patient demand

 for a narcolepsy treatment that allows for an uninterrupted night’s sleep.

        Avadel submitted a New Drug Application (“NDA”) for LUMRYZ in 2020 pursuant to §

 505(b)(2) of the FD&C Act. While Avadel’s product contains the same active ingredient, oxybate,



 1
  See, e.g., Ex. H (Avadel 2019 10k excerpt); Ex. I (Avadel 2020 10k excerpt); Ex. J (Avadel 2021
 10k excerpt).
                                                2
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 as Jazz’s—and its approval relies in part on safety studies for oxybate performed by Jazz—

 Avadel’s product uses a novel oxybate formulation that permits once-nightly dosing. It is not a

 copy-cat or generic version of Jazz’s product. Jazz nevertheless is seeking to prevent LUMRYZ

 from reaching patients, and commenced the first of several patent infringement suits against

 Avadel in May of 2021, asserting, among others, the ’963 patent, the only one of Jazz’s asserted

 patents listed in the FDA’s Orange Book.2 In turn, the FDA required Avadel to submit a

 “Paragraph IV certification” stating that Jazz’s ’963 patent is invalid or will not be infringed by

 LUMRYZ. Ex. K (Correspondence from FDA) at 12; 21 U.S.C. § 355(b)(2)(A)(iv). As a result

 of this certification (which Avadel maintains was neither necessary nor proper)3, Jazz could obtain

 an automatic stay of FDA approval of LUMRYZ until the expiration of the ’963 patent in June

 2023 simply by suing Avadel for patent infringement within 45 days. Jazz did so but filed suit in

 a separate action for the sole purpose of triggering the statutory stay—not to actually litigate the

 ’963 patent, which has been part of this litigation for over a year.4 Indeed, nearly nine weeks after

 suing Avadel, Jazz has not even bothered to serve the complaint in that action. Jazz is gaming the

 system, and not for the first time.

          Avadel’s 12(c) Motion is directed to Jazz’s attempt to keep Avadel off the market by

 improperly listing the ’963 patent in the Orange Book so that the FDA would require a patent

 certification from Avadel, and stay approval of LUMRYZ. Only patents that cover a drug or

 method of using a drug may be listed by drug manufacturers in the Orange Book. 21 U.S.C. §



 2
  The Orange Book provides a list of patents that the holder of a New Drug Application believes
 covers the active ingredient, formulation, or method of using the drug product covered by the
 NDA. Caraco Pharm. Labs. Ltd. v. Novo Nordisk AS, 566 U.S. 399, 405-06 (2012).
 3
   Avadel has filed a suit against the FDA challenging its requirement that Avadel submit that
 certification, which is pending in the United States District Court for the District of Columbia.
 4
     C.A. No. 22-0941.
                                                  3
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 355(b)(1)(A)(viii). However, companies like Jazz are able to unilaterally misrepresent the claimed

 subject matter of their patents and wrongfully list them in the Orange Book, and the FDA lacks

 the authority to second-guess such misrepresentations. Caraco Pharm. Labs. Ltd. v. Novo Nordisk

 AS, 556 U.S. 399, 406-07 (2012). As a result, Congress created a path for parties in Avadel’s

 shoes to obtain relief from the district courts. Id. Specifically, parties sued for infringement on

 improperly listed patents may bring a counterclaim seeking delisting of patents that do not claim

 a “drug” or “method of using [a] drug” pursuant to 21 U.S.C. § 355(c)(3)(D)(ii)(I).

        The ’963 patent should be delisted because it does not fall in either of the statutorily

 enumerated categories. Jazz’s ’963 patent is directed to a “computer-implemented system for

 treatment of a narcoleptic patient” and recites various components of said computer system that

 promote safe distribution of a drug having the potential for misuse.5 Ex. L (’963 patent) at claim

 1. Despite the plain language of the claims—which recite computer-implemented systems—Jazz

 has tried to recast the ’963 patent claims as a “method of using [a] drug” in attempt to claim its

 Orange Book listing is proper.

        In response, Avadel filed a counterclaim seeking “an order requiring [Jazz] to correct or

 delete” patent information listed in the Orange Book “on the ground that the patent does not claim

 either—(aa) the drug for which the [brand’s NDA] was approved; or (bb) an approved method of

 using the drug.” 21 U.S.C. § 355(c)(3)(D)(ii)(I); Caraco, 566 U.S. at 408-09 (emphasis added).

 Avadel’s 12(c) Motion seeks to adjudicate that counterclaim, so that FDA may remove the

 improperly-listed ’963 patent from the Orange Book and lift the stay on a final regulatory approval

 decision for LUMRYZ. D.I. 118 at 11. Avadel’s motion concerns the straightforward question of



 5
   Jazz asserts that the claims of the ’963 patent cover a “Risk Evaluation and Mitigation System”
 (“REMS”), which is a safety program required by the FDA for certain high-risk drugs to ensure
 that their benefits outweigh their potential harm.
                                                   4
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 whether the ’963 patent claims “a method of using [a] drug.”6 That question can be answered in

 one of two ways: (1) by resolving a single claim construction question for ’963 patent in Avadel’s

 favor; or (2) by assessing the plain language of Jazz’s proposed claim construction. Either way,

 the ’963 patent cannot be shoehorned into covering a method of using a drug, despite Jazz’s best

 attempts.

           Avadel initially filed its motion to delist the ’963 patent in July of 2021. D.I. 20. Judge

 Noreika determined that the motion raised a claim construction dispute, and accordingly postponed

 decision on the motion until claim construction. D.I. 55. Since then, the parties have fully briefed

 their claim construction disputes, including whether the claims of the ’963 patent cover systems

 or methods. D.I. 132 at 46-66. Avadel also filed its renewed motion for judgment on the pleadings

 so that its delisting motion could be decided concurrently with claim construction. D.I. 117, 118.

 Rather than responding substantively to Avadel’s 12(c) Motion, Jazz filed a procedurally improper

 “objection,” contending that Avadel was required to seek leave before filing its motion. D.I. 124.

           On August 23, 2022, the Court indefinitely postponed the Markman hearing, which was

 originally set for August 31, 2022. D.I. 146. Because resolution of the ’963 patent’s “systems

 versus method” claim construction dispute in Avadel’s favor would likewise resolve its delisting

 motion in its favor, Avadel immediately wrote to the Court seeking an expedited hearing on just

 the REMS patent. D.I. 150. That same day, the Court ordered Jazz to file a response on the merits

 to Avadel’s renewed 12(c) Motion within two days, implicitly acknowledging the urgency of

 Avadel’s request, and rejecting Jazz’s procedural objections. D.I. 151. Jazz filed its opposition to

 Avadel’s 12(c) Motion (D.I. 153) within the proscribed two days, and Avadel promptly filed its

 reply before the next business day (D.I. 154). Jazz subsequently filed a request for leave to file a



 6
     There is no dispute that the ’963 patent does not claim a “drug.”
                                                    5
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 sur-reply (D.I. 155), and Avadel responded to Jazz’s request (D.I. 157). Jazz did not submit a

 reply in support of its motion for leave, and the time has passed for it to do so. As such, briefing

 on Avadel’s 12(c) Motion is complete, and ripe for resolution. Given the flurry of activity initiated

 by Judge Noreika after receipt of Avadel’s letter, Avadel believed that the 12(c) Motion was being

 given expedited consideration. In light of the reassignment of this case to a new District Judge,

 Avadel is compelled to formalize its request for expedited consideration now.7

 III.   AVADEL IS BEING UNDULY HARMED BY JAZZ’S IMPROPER ’963 PATENT
        ORANGE BOOK LISTING AND PATIENTS ARE PAYING THE PRICE

        Jazz’s opposition to Avadel’s request for prompt resolution of an already-briefed motion

 speaks volumes about its intentions. During the parties’ meet and confer, Jazz provided no

 justification for its opposition to Avadel’s request for the simple reason that none exists, other than

 to further delay a ruling that the ’963 patent should be removed from the Orange Book and disrupt

 Jazz’s decades-long monopoly on the oxybate market. Indeed, public stock analyst reports

 recognize the obvious: delay of approval for LUMRYZ uniquely benefits Jazz. Ex. M.

                                                  REDACTED

                                                After spending hundreds of millions of dollars to

 develop LUMRYZ, Avadel must continue                                REDACTED

                                  with no incoming revenue from LUMRYZ, its only product. Ex.

 A. The continued delay in Avadel’s market launch has already forced the company to engage in

 drastic cost-cutting measures, including terminating nearly 50 percent of its work force in June of

 2022. Id.                                         REDACTED




 7
   As yet another delay tactic, Jazz has suggested that it will seek discovery prior to responding to
 this motion. Discovery is not needed for resolution of a simple request to expedite a fully briefed
 motion.
                                                  6
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  REDACTED      . If Avadel cannot launch LUMRYZ,                     REDACTED




 See Ex. N at 2.

         In addition to the damage to Avadel as a company, delaying the launch of Avadel’s product

 harms narcolepsy patients. As explained above, individuals suffering from narcolepsy are limited

 to Jazz’s oxybate products, which require patients to set alarms and forcefully awaken in the

 middle of the night to take medication for treatment of their sleep disorder. Ex. O at 1. This

 treatment plan for patients already suffering from disrupted sleep is counterproductive and

 wrought with safety concerns, and many patients struggle to comply with this twice-nightly dosing

 requirement. Ex. P at 1. Indeed, some narcolepsy patients must forgo treatment with oxybate

 because they cannot comply or consider it unsafe to do so—among other issues, the twice-nightly

 regimen requires leaving the second dose of this controlled substance with abuse potential sitting

 on a nightstand for several hours, where children or roommates can access it. Ex. Q (Submission

 to FDA) at 3. LUMRYZ provides a once-nightly oxybate treatment that avoids the difficulties of

 Jazz’s twice-nightly dosing regime and provides patients with a much-needed improved

 narcolepsy treatment that allows for a full nights’ sleep.

         Jazz’s improper listing of the ’963 patent in the Orange Book and its continued

 gamesmanship meant to delay approval for LUMRYZ should be brought to an end. Avadel’s fully

 briefed Rule 12(c) motion seeks to do just that and allow Avadel to market its transformative drug

 product for patients suffering from narcolepsy. Avadel therefore respectfully seeks a just and

 speedy resolution of Avadel’s 12(c) Motion and the parties’ dispute regarding the Orange Book

 listing of the ’963 patent.


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 IV.    AVADEL MERELY REQUESTS EXPEDITED CONSIDERATION OF THE RULE
        12(C) MOTION

        This Court has broad discretion to manage its docket. In re Fine Paper Antitrust Litigation,

 685 F.2d 810, 817 (3rd Cir. 1982). FEDERAL RULE OF CIVIL PROCEDURE 1 provides that the rules

 in all civil actions “should be construed, administered, and employed by the court and the parties

 to secure the just, speedy, and inexpensive determination of every action and proceeding.”

 Avadel’s motion asks the Court to exercise its discretion to grant expedited consideration of

 Avadel’s 12(c) Motion to secure its just resolution and minimize ongoing harm to Avadel. As

 described above, this Court has done so in the past. See, e.g., Ex. B (Westinghouse Air Brake Tech.

 Corp. v. Siemens Industry, Inc., C.A. No. 17-1687-LPS, D.I. 94) (Oral Order granting request to

 expedite consideration of motion to strike); Ex. C (C.A. No. 17-1687-LPS, D.I. 93) (letter

 requesting expedited relief); Ex. D (EIS Inc. v. IntiHealth Ger GmbH, C.A. No. 19-1227-LPS, D.I.

 145) (Oral Order granting request for expedited briefing on motion for temporary restraining order

 and preliminary injunction); Ex. E (C.A. No. 19-1227-LPS, D.I. 141, EIS letter requesting

 expedited briefing); Ex. F (AstraZeneca Pharmaceuticals LP v. Becerra, C.A. No. 21-27-LPS, D.I.

 32) at 22 (Judge Stark indicating that the Court is “leaning towards expediting” briefing on

 Plaintiff’s summary judgment motion challenging HHS advisory opinion); Ex. G (AstraZeneca,

 C.A. No. 21-27-LPS, D.I. 71) (Oral Order expediting hearing on Plaintiff’s motion).

        Avadel respectfully submits that the atypical circumstances of this motion and ongoing

 harm warrant expedited relief. That Jazz is resisting Avadel’s plea for an expedited resolution of

 a fully-briefed motion that was previously well on its way to resolution is yet another reflection of

 Jazz’s litigation gamesmanship. While Avadel is confident it will prevail on the merits, REDACTED




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 V.     CONCLUSION

        For the reasons stated above, Avadel respectfully requests that the Court expedite

 resolution of its renewed motion for partial judgment on the pleadings (D.I. 117), and, if needed,

 hold a brief Markman hearing to resolve the above-referenced claim construction dispute by the

 end of September.




  Dated: September 12, 2022                          MCCARTER &ENGLISH, LLP

                                                     /s/ Daniel M. Silver
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                    EXHIBIT A
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                    EXHIBIT B
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                                    ORAL ORDER: Having reviewed Defendant's request for expedited consideration of its
                                    Motion to Strike or in the Alternative for Leave to File a Sur-Reply and to Extend
                                    Hearing Date (D.I. 92, 93), IT IS HEREBY ORDERED that expedited consideration is
                                    GRANTED. Plaintiff shall file a letter, not to exceed three pages, responding to
                                    Defendant's motion by tomorrow at 11:00 AM. Today's deadline for the parties' joint
                                    letter to the Court regarding issues for the pre-hearing teleconference is CONTINUED.
                                    ORDERED by Judge Leonard P. Stark on 6/19/18. (ntl) (Entered: 06/19/2018)




                                    As of June 20, 2018, PACER did not contain a publicly available document associated
                                    with this docket entry. The text of the docket entry is shown above.

                                    Westinghouse Air Brake Technologies Corporation v. Siemens Industry, Inc.
                                    1-17-cv-01687 (DED), 6/19/2018, docket entry 94




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                    EXHIBIT C
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

  WESTINGHOUSE AIR BRAKE                 )
  TECHNOLOGIES CORPORATION               )
  (d/b/a WABTEC CORPORATION),            )
                                         )
                      Plaintiff,         )
                                         )
        v.                               )     C.A. No. 17-1687 (LPS) (CJB)
                                         )
  SIEMENS INDUSTRY, INC.,                )     EXPEDITED CONSIDERATION
                                         )     REQUESTED
                      Defendant.         )


                  LETTER TO THE HONORABLE LEONARD P. STARK
             FROM KAREN JACOBS REGARDING SIEMENS INDUSTRY, INC.’S
                 MOTION TO STRIKE OR, IN THE ALTERNATIVE, FOR
             LEAVE TO FILE A SUR-REPLY AND TO EXTEND HEARING DATE



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  June 18, 2018
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  Dear Chief Judge Stark:

         Wabtec filed a purported “reply” brief in support of its preliminary injunction motion (D.I.
  88) with over 2,000 pages in declarations and exhibits. Less than three weeks before the hearing
  scheduled for July 3, Wabtec’s voluminous reply introduces for the first time:
                a declaration from a new expert opining on the validity of the ’463 Patent (D.I. 91),
                 with corresponding arguments in the brief;
                new irreparable harm evidence and arguments; and
                entire transcripts of 10 depositions not cited in the opening brief.
          Wabtec’s “trial by ambush” strategy violates the Federal Rules’ requirement that “[a]ny
  affidavit supporting a motion must be served with the motion” (Fed. R. Civ. P. 6(c)(2)), and this
  Court’s mandate that“[t]he party filing the opening brief shall not reserve material for the reply brief
  which should have been included in a full and fair opening brief.” D. Del. LR 7.1.3(c)(2). Siemens
  therefore moves this Court—under Procedures Order (D.I. 8) and Fed. R. Civ. P. 37—to:
         (1)     Strike Wabtec’s new expert report and new arguments in the reply brief, or in the
                 alternative, grant Siemens a deposition of the new expert, a sur-reply, and a brief
                 postponement of the PI hearing to afford adequate time for the former.
  Siemens further moves this Court to:
         (2)     Strike the declaration of Timothy Wesley (D.I. 52), and reliance on it in the opening
                 brief (D.I. 49) and in Mr. Bourg’s declaration (D.I. 51) and grant Siemens the right to
                 sur-reply to address Wabtec’s new irreparable harm arguments; and
         (3)     Grant Siemens the right to file a sur-reply to address or rebut the new deposition
                 testimony Wabtec submitted for the first time in its reply.
  Given the hearing date of July 3, 2018, Siemens respectfully requests consideration of this motion be
  expedited and that Wabtec have two days to respond, followed by Siemens’ reply in two days.1

  I.      Siemens Moves to Strike Wabtec’s New Invalidity Expert Report or, in the Alternative,
          to Conduct Discovery, File a Sur-Reply, and Postpone the Hearing.
          Wabtec’s reply for the first time introduces an expert declaration on validity from a
  previously undisclosed expert (Frank Wilson). But unlike most PI cases, Wabtec knew all the
  asserted prior art references and combinations on which Siemens relies six months before filing its
  opening brief.2 (See D.I. 49 at 16-17). Wabtec knew when it filed its PI motion that it was obligated


  1
    Siemens did not file this motion before today because until Friday morning, June 15, the parties
  were largely in agreement on the proposed alternative relief (see Ex. A, 6/14/18 email from S.
  Caponi), and the parties had called the Court to check on the Court’s availability to reschedule the PI
  hearing on or about August 1, 2018. Less than 24 hours later—after a meet and confer on an
  unrelated issue—Wabtec reneged on this tentative agreement and insisted on proceeding with the
  hearing on July 3, 2018.
  2
    Siemens’ opposition included a Declaration of John Loud (D.I. 80) opining on the invalidity of the
  ’463 Patent, but all the references he discusses were disclosed (and charted) in Siemens’ invalidity
  contentions.
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  to address Siemens’ invalidity challenges to meet its burden of showing a likelihood of success.3
  See, e.g., Amazon.com, Inc. v. Barnesandnoble.com, Inc., 239 F.3d 1343, 1350 (Fed. Cir. 2001).
  Nonetheless, Wabtec deliberately chose to save its arguments and expert testimony until its reply
  brief, in clear violation of Fed. R. Civ. P. 6(c)(2) and this Court’s D. Del. LR 7.1.3(c)(2).

          Wabtec’s gamesmanship materially prejudices Siemens’ ability to oppose the PI motion. As
  noted in Siemens’ opposition brief, Wabtec’s hide-the-ball tactics kept Siemens in the dark about
  Wabtec’s positions until after Siemens filed its opposition brief. (D.I. 78 at 19). Wabtec should not
  be allowed to submit a new expert declaration addressing for the first time the invalidity defenses of
  which it was already aware when it filed its motion, leaving Siemens without a substantive response
  to those challenges. (Id. at n.8). Accordingly, Mr. Wilson’s new expert report and the new
  arguments contained in the reply should be stricken. See, e.g., Lab.Skin Care, Inc. v. Ltd. Brands,
  Inc., 757 F. Supp. 2d. 431, 437-38 (D. Del. 2010) (precluding new declaration and evidence in a
  reply brief); Praxair, Inc. v. ATMI, Inc., 231 F.R.D. 457, 463-64 (D. Del. 2005) (striking newly
  submitted expert opinions because other party did not have sufficient time for rebuttal discovery).

          In the alternative, Siemens moves for leave to depose Mr. Wilson and to file a sur-reply, and
  for a brief postponement of the PI hearing to allow Siemens reasonable time to address the new
  evidence and arguments raised in Wabtec’s reply brief.4 Wabtec does not oppose the deposition or
  sur-reply, so long as Siemens completes both before the July 3 hearing. Wabtec’s proposal is
  untenable, however, and would be extremely prejudicial to both Siemens and the Court. See Socket
  Mobile, Inc. v. Cognex Corp., 2017 WL 3575582, at *5 (D. Del. Aug. 18, 2017).

          This Court’s schedule contemplated three weeks after Wabtec’s reply for both parties and the
  Court to prepare for the hearing after discovery was completed. (D.I. 59.) Siemens should not be
  forced to review Wabtec’s new 2,000-page filing, take the new expert’s deposition, write a sur-reply,
  and prepare for a hearing that now includes cross-examination of a second technical expert (in
  addition to Wabtec’s infringement expert and a corporate witness), while also preparing Siemens’
  expert witness to rebut the new expert report. Siemens would have to accomplish all of this within
  15 days from today. It would be unjust to consider enjoining the sale of Siemens’s products on a
  record on which Siemens has not had sufficient opportunity to present contrary arguments or
  testimony and where the Court will not have sufficient time to consider such arguments.

          Notably, Wabtec implicitly recognized the need for a surreply and the impracticality of the
  schedule when it tentatively agreed to move the hearing date just the day before, and it cannot
  reasonably claim prejudice by postponing the hearing a few weeks considering its delay in filing the
  original motion.

         Should this Court not strike Wabtec’s new arguments and evidence, Siemens proposes the
  following schedule:


  3
    Wabtec filed the cover pleading to Siemens’ contentions, but chose only to reference the non-prior
  art invalidity contentions discussed therein. (See D.I. 49 at 16-17 and Ex. O.)
  4
    This Court “may grant leave to file a sur-reply if it responds to new evidence, facts, or arguments.”
  St. Clair Intellectual Prop. Consultants, Inc. v. Samsung Elecs. Co., 291 F.R.D. 75, 80 (D. Del.
  2013).


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                 deposition of the new expert during the last week of June;
                 a sur-reply up to 15 pages due July 17;
                 joint letters on July 20;
                 prehearing conference on July 24; and
                 the PI hearing on or about August 1,to the extent available on the Court’s calendar.

   II.    Siemens Moves to Strike the Declaration of Timothy Wesley and its New Irreparable
          Harm Arguments or, in the Alternative, to File a Sur-Reply.
          In its opening brief, Wabtec’s irreparable harm was based at least in part on an inaccurate and
  exaggerated number of OBUs that Wabtec’s employee, Mr. Wesley, claimed that Siemens had
  purportedly sold. (See D.I. 49 at 6.) Despite acknowledging during that Mr. Wesley’s declaration
  was wholly “inaccurate,” Wabtec did not withdraw it, nor inform this Court that several factual
  allegations in its opening brief and in the Bourg Declaration submitted were therefore also
  inaccurate. Instead, Wabtec now states it “is no longer relying on” this declaration, (D.I. 88 at 9,
  n.6), but as Siemens’ predicted in its opposition (see D.I. 79 at n. 4), Wabtec has now tried to
  introduce new irreparable harm arguments to which Siemens has had no opportunity to respond. D.
  Del. LR 7.1.2(c)(2).

           Siemens thus requests that the Wesley declaration and corresponding parts of Wabtec’s
  opening brief and Mr. Bourg’s Declaration (D.I. 51 at ¶¶ 36-38) be stricken. Wabtec attempts to
  rectify its irreparable harm argument in its reply with new evidence and arguments (id. at 9-10, 11-
  13), should be stricken as well or, in the alternative, Siemens requests an opportunity to sur-reply.

  III.    Siemens Moves for Leave to File a Sur-Reply to Address Wabtec’s Arguments Based
          on New Testimony.
          Wabtec included the entirety of 10 deposition transcripts as exhibits to its reply. (See D.I. 88,
  Exs. P, Q, T, U, Z, AA, BB, CC, FF and LL.) Not only is the filing of entire deposition transcripts
  overly inclusive, it also obfuscates Siemens’ and the Court’s ability to know what testimony Wabtec
  relies on or plans to offer at the hearing. Siemens requests the opportunity to address the new
  testimony relied on by Wabtec and to submit new testimony not available when Siemens filed its
  opposition to the PI in a sur-reply. Wabtec does not oppose this request.

                                                  Respectfully,

                                                  /s/ Karen Jacobs

                                                  Karen Jacobs (#2881)

  cc:     All Counsel of Record (via electronic mail)




                                                     3
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                    EXHIBIT D
                                   Case 1:21-cv-00691-GBW Document 166 Filed 09/13/22 Page 22 of 179 PageID #: 3011




                                    ORAL ORDER: Having reviewed Plaintiff's motion for a temporary restraining order
                                    ("TRO") and preliminary injunction ("PI") (D.I. 139), the accompanying opening brief
                                    (D.I. 140), and Plaintiff's letter requesting expedited briefing (D.I. 141), as well as
                                    Defendants' letter opposing expedited briefing (D.I. 143), IT IS HEREBY ORDERED
                                    that Plaintiff's request for expedited consideration of its motion is GRANTED. The
                                    parties shall proceed as follows: (i) no later than tomorrow, December 8, at 10:00 a.m.,
                                    Defendants shall file a letter brief of no more than five single-spaced pages outlining the
                                    bases for their opposition to Plaintiff's request for a TRO and/or PI; (ii) no later than
                                    December 8 at 2:00 p.m., Plaintiff may file a reply letter brief of no more than two single-
                                    spaced pages; and (iii) no later than December 8 at 6:00 p.m., each side shall submit a
                                    letter brief, not to exceed five single-spaced pages, addressing the following questions:
                                    (a) what role did any defendant play in initiating, participating in, and/or requesting relief
                                    from Amazon; (b) if the Court grants Plaintiff's motion and directs Defendants to take
                                    actions with respect to Amazon, what likelihood is there that Amazon will respond by
                                    again offering Plaintiff's product; (c) if the Court does not find a likelihood that Plaintiff
                                    will succeed on the merits, but is concerned that Defendants may be attempting to
                                    "circumvent[] the legal system and engage[] in a self-help remedy, instead of letting this
                                    Court resolve the parties' dispute pending before this Court" (D.I. 140 at 1), what, if any,
                                    relief can the Court provide Plaintiff; (d) should the Court invite Amazon to provide its
                                    views on the resolution of the pending motion; and (e) has any court addressed the
                                    interplay between Amazon's Utility Patent Neutral Evaluation and ongoing litigation? IT
                                    IS FURTHER ORDERED that the Court will hold a teleconference to discuss the parties'
                                    submissions on Thursday, December 9 at 9:45 a.m. Plaintiff shall initiate the call to
                                    302-573-4571. ORDERED by Judge Leonard P. Stark on 12/7/21. (ntl) (Entered:
                                    12/07/2021)




                                    As of December 8, 2021, PACER did not contain a publicly available document
                                    associated with this docket entry. The text of the docket entry is shown above.

                                    EIS Inc. v. IntiHealth Ger GmbH et al
                                    1-19-cv-01227 (DDE), 12/7/2021, docket entry 145




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                     EXHIBIT E
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                           MORRIS, NICHOLS, ARSHT               &   TUNNELL    LLP

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   JACK B. BLUMENFELD
   (302) 351-9291
   (302) 425-3012 FAX
   jblumenfeld@morrisnichols.com


                                               December 6, 2021



   The Honorable Leonard P. Stark                                             VIA ELECTRONIC FILING
   United States District Court
    for the District of Delaware
   844 North King Street
   Wilmington, DE 19801

           Re:          EIS, Inc. v. WOW Tech International GmbH, et al.
                        C.A. No. 19-1227 (LPS)

  Dear Judge Stark:

          We represent Plaintiff EIS, Inc. (“EIS”), in this action. EIS filed a motion for a temporary
  restraining order and preliminary injunction late on Friday night, December 3. D.I. 139-40. The
  motion relates to arrangements Defendants made to have EIS’s products taken down from
  Amazon.com based on charges of infringement of one of the patents in this case just after the
  Thanksgiving weekend during the busiest shopping season of the year. Defendants did not advise
  EIS of its proceedings with Amazon. Amazon informed EIS of the take down last week.

           On Friday, before filing the motion, we communicated with Defendants’ counsel three
  times about the forthcoming motion and a briefing schedule. Although they declined to get on the
  phone with us, they responded by email. As to the motion, Defendants’ counsel stated that the
  Defendants never agreed “that the District of Delaware has the sole and exclusive jurisdiction over
  all disputes between the parties.” Although this Court may not have jurisdiction over everything,
  it certainly has jurisdiction over the infringement and unfair competition issues in this case. As to
  a briefing schedule, they responded that Defendants “would decid[e] for [them]selves the urgency”
  of the motion and “would be opposed to an expedited briefing schedule.”

          Under the circumstances, and due to the irreparable harm to EIS currently occurring and
  December being a busy sales month, EIS requests an expedited briefing schedule and hearing on
  its motion. We are available for a telephone conference today or tomorrow if Your Honor has time
  to hear us.
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  The Honorable Leonard P. Stark
  December 6, 2021
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                                              Respectfully,

                                              /s/ Jack B. Blumenfeld

                                              Jack B. Blumenfeld (#1014)
  JBB/bac

  cc:    All Counsel of Record (via electronic mail)
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                     EXHIBIT F
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     1                         IN THE UNITED STATES DISTRICT COURT

     2                         IN AND FOR THE DISTRICT OF DELAWARE

     3                                          - - -
           ASTRAZENECA PHARMACEUTICALS LP,
     4                                                      :     CIVIL ACTION
                               Plaintiff,                   :
     5     v                                                :
                                                            :
     6     NORRIS COCHRAN, in his official capacity         :
           as Acting Secretary of the U.S.                  :
     7     Department of Health and Human Services;         :
           DAN BARRY, in his official capacity              :
     8     as Acting Secretary of the U.S.                  :
           Department of Health and Human Services;         :
     9     DIANA ESPINOSA, in her official capacity         :
           as Acting Administrator of the U.S.              :
    10     Department of Health and Human Services;         :
           U.S. DEPARTMENT OF HEALTH AND HUMAN              :
    11     SERVICES; and HEALTH RESOURCES AND               :
           SERVICES ADMINISTRATION,                         :
    12                                                      :     NO. 21-27-LPS
                               Defendants.
    13                                          - - -

    14                                  Wilmington, Delaware
                                     Friday, February 19, 2021
    15                                Telephonic Oral Argument

    16                                         - - -

    17     BEFORE:         HONORABLE LEONARD P. STARK, Chief Judge

    18     APPEARANCES:                        - - -

    19                    McCARTER & ENGLISH, LLP
                          BY: ALEXANDRA M. JOYCE, ESQ.
    20
                               and
    21
                          ARNOLD & PORTER KAY SCHOLER, LLP
    22                    BY: ALLON KEDEM, ESQ., and
                               JEFFREY L. HANDWERKER, ESQ.
    23                         (Washington, District of Columbia)

    24                                Counsel for Plaintiff

    25                                          Brian P. Gaffigan
                                                Official Court Reporter
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     1     APPEARANCES:    (Continued)

     2
                          U.S. DEPARTMENT OF JUSTICE
     3                    BY: RACHAEL L. WESTMORELAND, ESQ.
                               Trial Attorney
     4                         (Washington, District of Columbia)

     5                               Counsel for Defendants

     6

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     1                                    - oOo -

     2                            P R O C E E D I N G S

     3                    (REPORTER'S NOTE:    The following telephone

     4     conference was held remotely, beginning at 4:33 p.m.)

     5                    THE COURT:   Good afternoon, everybody.      This is

     6     Judge Stark.    Who is there for the plaintiff, please?

     7                    MS. JOYCE:   Good afternoon, Your Honor.      This

     8     is Alexander Joyce from McCarter & English on behalf of

     9     plaintiff AstraZeneca.      And I'm joined by Allon Kedem,

    10     Jeffery Handwerker, both from Arnold & Porter, as well as

    11     Danelco Moxey, who is our client representative.

    12                    THE COURT:   Okay.   Thank you very much.     Who is

    13     there for the defendants, please?

    14                    MS. WESTMORELAND:    Good afternoon, Your Honor.

    15     This is Rachel Westmoreland from the U.S. Department of

    16     Justice on behalf of defendants.

    17                    THE COURT:   Okay.   Thank you.    And my court

    18     reporter, of course, is on the line.        And for the record, it

    19     is our case of AstraZeneca Pharmaceuticals LP versus Norris

    20     Cochran, et al.     It is our Civil Action No. 21-27-LPS.        And

    21     this is the time I set as a status conference to talk about

    22     where this case is and some thoughts about how it should

    23     perhaps proceed.

    24                    Let me start by hearing the -- I've read, of

    25     course, the submissions that had been made today.          Thank you
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     1     for those.    But let me start by hearing from the plaintiff

     2     as to what you're proposing that I do and why.

     3                   MR. KEDEM:    Thank you, Your Honor.      This is

     4     Allon Kedem from Arnold & Porter from AstraZeneca.          We know

     5     how busy you are and appreciate you acting so quickly on our

     6     motion.

     7                   Subject to the Court's direction, I'd like to

     8     briefly explain our request for expedition and where we

     9     hope to go from here.

    10                   In light of the imminent harm that AstraZeneca

    11     faces, we're seeking preliminary relief to preserve the

    12     status quo until our claims can be heard or, in the

    13     alternative, briefing on a schedule allowing this Court to

    14     move as expeditiously as possible so that the issue can be

    15     decided before the advisory opinion is used to cause us harm

    16     that can't later be fixed through litigation.

    17                   We moved for --

    18                   THE COURT:    Let me, let me stop you there, Mr.

    19     Kedem.

    20                   So as I understand it, the alleged irreparable

    21     harm is principally focused on when an ADR process I guess

    22     concludes?    Help me understand what the irreparable harm is

    23     pegged to and what is your best estimate as to when that

    24     date will arrive.

    25                   MR. KEDEM:    Sure, Your Honor.
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     1                   In the ADR proceedings, petitions have been

     2     filed seeking orders forcing AstraZeneca to abandon its

     3     contract pharmacy policy.      And, notably, there had been

     4     petitions that had been filed seeking preliminary injunctive

     5     relief, meaning they're requesting an injunction before the

     6     proceeding even concludes.

     7                   We are frankly somewhat in the dark about when

     8     that will occur.     The petitions have been filed, and the

     9     proceedings could start at any time.

    10                   It's possible that the government has more

    11     information about that than we do.        If the government would

    12     be willing to stipulate that any sort of order of that type

    13     won't issue before a date certain or until you have had a

    14     chance to rule, we would be fine with that, but we have no

    15     way to know when that kind of order either as a preliminary

    16     matter or at the conclusion of an ADR proceeding is likely

    17     to come.

    18                   THE COURT:    Okay.   Well, that is helpful.      And I

    19     will come back to you.      I do want to hear more from you, but

    20     I'd like to hear then from Ms. Westmoreland on that point

    21     principally because I'm trying to figure out how urgent this

    22     is, and if the main point of urgency from the plaintiff's

    23     perspective is the status of any of these ADR procedures,

    24     what, if anything, can the government tell us about the pace

    25     at which those are going to move.
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     1                   MS. WESTMORELAND:     Your Honor, I don't have a

     2     sort of a date certain to give you or even really a time

     3     frame as to how those will move forward, but I will note

     4     that the outcome of the ADR proceeding is an agency action

     5     that can be reviewed in District Court.        And so the

     6     government's position is that plaintiff should raise their

     7     sort of version of the statutory interpretation in that

     8     proceeding which will then eventually be reviewable.

     9                   And the idea that the advisory opinion is going

    10     to cause plaintiff harm in the ADR proceeding is a little

    11     bit misguided as the statutory interpretation that is set

    12     out in the former general counsel's views in the advisory

    13     opinion have been a long standing position of the agency.

    14                   And so the government's position is that there

    15     is no emergency based on the advisory opinion with or

    16     without the ADR proceedings and that plaintiff should take

    17     the opportunity to seek review of any ADR proceeding at the

    18     end of those proceedings.

    19                   THE COURT:    Okay.   Thank you for that.

    20                   Mr. Kedem, why don't you respond to that and

    21     then pick up with whatever else you wanted to address.

    22                   MR. KEDEM:    Ms. Westmoreland raises what I

    23     take to be an exhaustion argument and final agency action

    24     argument, and we have responses to those arguments, but I

    25     think the more basic point is these are threshold legal
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     1     defenses that the government is free to assert in expedited

     2     briefing and they can be decided alongside the merits.

     3                   There is nothing that is going to happen in

     4     the ADR proceedings that will change the validity of those

     5     defenses, nor has the government suggested that there would

     6     be any discovery or other factual issues.         This is a legal

     7     question about the meaning of the statute.

     8                   And we are not trying to cut off the

     9     government's right to argue these defenses or any other

    10     defense it wants.     We're simply asking to tee the case up

    11     for resolution before the imminent harm piles up against us.

    12                   And let me just very briefly, if I may,

    13     summarize the irreparable harm that AstraZeneca faces now

    14     as a result of the unlawful advisory opinion.

    15                   Because of these ADR petitions, based on

    16     the opinion, AstraZeneca faces an order from the agency

    17     directing it to abandon its contract pharmacy policy.

    18     You have before you the Caprisecca declaration from

    19     AstraZeneca's Executive Director with oversight over the

    20     340B program.    In it, she explains that millions of dollars

    21     in duplicate discounts were going to contract pharmacies

    22     like CVS and Walgreens without any way for AstraZeneca even

    23     to identify when and where it was happening, much less to

    24     stop it.

    25                   In fact, when a different manufacturer, Sanofi,
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     1     tried to get the data it would need to stop these double

     2     discounts, the agency said that doing so was yet another

     3     violation of the 340B statute.       So the government has put

     4     us between a rock and a hard place.        The result is that

     5     shutting down AstraZeneca's policy as these ADR petitions

     6     threaten to do would mean millions and potentially tens of

     7     millions of dollars would be lost to contract pharmacies

     8     with no way to stop it or get these funds back later through

     9     litigation, and that is on top of the reputational harm and

    10     harm to business relationship.

    11                   That AstraZeneca is already suffering from

    12     covered entities who point to the advisory opinion to say

    13     that we are acting illegally.       In one, case a covered entity

    14     even instructed its pharmacies to completely stop giving

    15     AstraZeneca's drugs to its patients even though our policy

    16     would allow use of one contract pharmacy.

    17                   And, finally, our P.I. motion also details the

    18     constitutional harms from being forced to proceed in an

    19     unlawful administrative proceeding in violation of the

    20     appointments clause in Article III.

    21                   So our goal is to avoid these imminent harms.

    22     But we are open to any reasonable modification of our

    23     proposed schedule by the government.        And, you know, last

    24     week we thought we and the government could reach an under-

    25     standing to do just that.      But, again, if the government is
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     1     not willing to stipulate that there won't be an order in the

     2     ADR proceeding, directing us to abandon our policy either

     3     on a preliminary or a final basis, then we need to move

     4     forward as quickly as possible to head off these harms.

     5                   THE COURT:    So it sounds at least at the moment

     6     like they're not willing to stipulate to that.          Let's assume

     7     that that is true.     Help me understand how the irreparable

     8     harm is still present in your view even though you have

     9     the right to seek District Court review at end of that ADR

    10     process.

    11                   MR. KEDEM:    Sure.    So let's say, Your Honor,

    12     that get a ruling from the ADR proceeding or the agency

    13     either on a preliminary basis or after the ADR proceeding

    14     is concluded, telling us we have to abandon our contract

    15     pharmacy policy.     As soon as we go back to the pre-existing

    16     policy, we are losing millions and potentially tens of

    17     millions of dollars that we have no way to identify, no

    18     way to know where they're going and therefore, as far as we

    19     could tell, no way to get them back later, and we may

    20     eventually win.

    21                   THE COURT:    Sorry.   Right.   Implicitly, you're

    22     saying if the result of the ADR process is a decision that

    23     you need to abandon the new policy, you're saying you will

    24     have to do that at that point or I guess the question is

    25     could you not get some interim relief, move for a
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     1     preliminary injunction at that point to maybe ask a court

     2     to let you stick with your policy while the court is now

     3     reviewing the result of the ADR process?         Is something

     4     like that potentially a way to alleviate the potential

     5     irreparable harm to your client?

     6                   MR. KEDEM:    Well, Your Honor, I suppose we could

     7     seek a TRO on an even more expedited basis than what we're

     8     talking about here.     I think it's worth emphasizing though

     9     that the ADR proceeding, there is no drama about what its

    10     result is going to be, the agency has already made crystal

    11     clear.   So it would essentially be futile, and we would

    12     lose all that time, then be forced to rush back into federal

    13     court and try and get a ruling, I don't know, in a matter of

    14     days or weeks on the very same legal issue that is entirely

    15     independent of anything that actually happens in the ADR

    16     proceeding, which again the agency has already signalled

    17     that it thinks AstraZeneca's policy is inconsistent with the

    18     statute.

    19                   So we think expedited briefing, if not a

    20     preliminary injunction, is a much better way to address that

    21     issue.   And, again, the government, to the extent it has any

    22     legal defenses, saying that we should exhaust or there is

    23     no final agency action, it would be perfectly free to raise

    24     those defenses at any time.

    25                   THE COURT:    Under your alternative where we
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     1     expedite and go right to summary judgment briefing, you

     2     would not, you would not request a preliminary injunction

     3     in that context?     And the defendant, what would happen to

     4     their legal defenses?      Would you propose a cross motion for

     5     summary judgment or would they still have a chance to file a

     6     motion to dismiss under your proposed scenario?

     7                   MR. KEDEM:    We would be comfortable proceeding

     8     on the expedited briefing schedule that we've proposed or

     9     something like it as an alternative to ruling on the P.I.

    10     motion.   And we have proposed a schedule that allows for

    11     the government to cross move on any of its defenses.           And,

    12     you know, we don't want to jam the government up.          If it has

    13     reasonable modifications that are necessary, we are open to

    14     anything along those lines.

    15                   But what we don't want is essentially an

    16     indefinite hiatus in federal court while the ADR

    17     proceeding happens and then to be faced with a potential

    18     of a potentially disastrous order that it would take quite

    19     a bit of time to get reversed, and in the meanwhile

    20     millions of dollars are going out the door with no way to

    21     know where or how to get them back in addition to all of

    22     the constitutional and reputational harms that we have also

    23     identified.

    24                   THE COURT:    There is reference in the papers to

    25     a number of other cases around the country.         In your view,
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     1     did those cases, any of them present the identical issues

     2     that you are putting in front of me or only similar issues?

     3     And regardless of the answer to that, are you asking me to

     4     move at a different pace than those other courts?          And, if

     5     so, why?

     6                   MR. KEDEM:    Your Honor, my understanding, and

     7     Ms. Westmoreland can correct me if I'm wrong, is that there

     8     are eight suits originally about the 340B program:          One has

     9     already been dismissed and two have been stayed.          Of the

    10     remaining five suits, this is the only one in which

    11     expedited relief is requested on the basis of the advisory

    12     opinion.   In those other suits, either they're not

    13     requesting expedited relief or they're requesting it for

    14     a different purpose because they want to challenge the

    15     ADR rule, the rule on which the proceeding is based on

    16     constitutional bases.

    17                   And so we are asking you to move in a relatively

    18     expeditious manner as some of those other cases are moving,

    19     but as far as we are aware, we are the only ones who are

    20     asking for this issue to be teed up on the advisory opinion

    21     itself.

    22                   THE COURT:    Okay.   I'm sure we'll come back to

    23     you, but, Ms. Westmoreland, please respond as you wish and

    24     point out whatever else you think I should know.

    25                   MS. WESTMORELAND:     Sure.   Thank you, Your Honor.
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     1                   I first want to start by talking about

     2     plaintiff's purported irreparable harm.

     3                   So to the extent that they're talking about

     4     harm coming from the ADR process and the application of the

     5     agency's interpretation of the statute, I want to point out

     6     that that ADR process is statutorily required.          That rule

     7     was issued pursuant to statute.

     8                   I also want to point out that this has been

     9     the agency's position for a very long time, and that until

    10     last summer and early fall, plaintiff was complying or

    11     appeared to share the agency's position on the number of

    12     contract pharmacies that a covered entity could work with.

    13     And so this sort of emergency that has arisen is because

    14     of plaintiff's change in position, not because the agency

    15     carried out its statutory obligation to set forth the ADR

    16     process in a rule.

    17                   And with respect to the purported constitutional

    18     harm, those relate to the ADR tribunal itself, which is not

    19     something plaintiff has chosen to challenge in this case.

    20                   I also -- as far as the sort of indefinite

    21     hiatus that Mr. Kedem refers to, that is certainly not what

    22     the government is seeking.      The government is seeking an

    23     opportunity to set forth its positions on threshold and

    24     jurisdictional issues in a motion to dismiss just a few days

    25     after the deadline would come for the government to file a
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     1     responsive pleading in this manner.

     2                   And I also just want to take the opportunity to

     3     clear up something that plaintiff raised in their replies.

     4     They sort of state that the government proposed this

     5     expedited briefing schedule and then abruptly changed their

     6     position, and that is simply just not what happened.

     7                   This was plaintiff's idea, and the government

     8     spoke to our clients about whether this is something that

     9     would work with the agency.       And institutionally both for

    10     the agency and for the government, it is important to have

    11     the opportunity to address the threshold and jurisdictional

    12     issues that come up before a case proceeds to a posture

    13     where the government would receive a judgment on the merits

    14     of that case.

    15                   THE COURT:    All right.    Well, let me ask you a

    16     little bit more about that.

    17                   I guess what the government is saying is your

    18     preference is that I make you respond to the preliminary

    19     injunction motion on a schedule maybe along the lines of

    20     what you have proposed in your papers and fully brief the

    21     motion to dismiss and then I guess determine a schedule for

    22     going forward on the merits only after we see if the case

    23     survives the motion to dismiss.       That is your preference;

    24     right?

    25                   MS. WESTMORELAND:     That's correct, Your Honor.
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     1                   THE COURT:    And I guess what I'm struggling

     2     with on that is -- I mean deciding a preliminary injunction

     3     motion and thinking about issues like irreparable harm and

     4     balance of harm, public interest, that may not be something

     5     we have to do, right?      It may not be something we have to

     6     do because maybe you are going to win on one of your legal

     7     defenses on the motion to dismiss, but maybe you are going

     8     to lose on those, and then we're going to get to the merits

     9     anyway, and the plaintiff isn't going to have to show those

    10     things.

    11                   So I'm just sort of thinking out loud.        Is

    12     there, is there merit in considering -- because I take

    13     your point about the distinction between risking a judgment

    14     on the merits and having your legal defenses, and you

    15     cited cases, of course, where it is normally the standard

    16     procedure that you would get to have a motion dismiss before

    17     summary judgment, but here I just, I wonder if it is worth

    18     exploring, could you, you know, could we simultaneously

    19     brief summary judgment and a motion to dismiss?          And if you

    20     win on the -- you know, the motion to dismiss is obviously

    21     part of your defense on the merits to the summary judgment

    22     motion, but it is also your affirmative legal defense.

    23                   I'm just, I'm looking to see if there is an

    24     efficient way we can brief what needs to be briefed, decide

    25     what needs to be decided, not waste everybody's time with
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     1     things that don't have to be decided, and then think about

     2     how quickly this can be done.

     3                   Should I be thinking in that way at all, Ms.

     4     Westmoreland, or should I not?

     5                   MS. WESTMORELAND:     Well, Your Honor, we

     6     certainly want to, you know, find something that is

     7     efficient for everyone involved, including the Court.           But

     8     from the government's perspective, though, there are other

     9     factors in sort of the P.I. here.

    10                   It's still a very different posture as far as

    11     the defense of the merits of the claim.        And the government

    12     does not want to sort of put the merits of the claim before

    13     what it considers to be extremely strong threshold arguments

    14     in this case.

    15                   So the government's strong preference is to

    16     oppose the motion for preliminary injunction, which we, of

    17     course, have strong arguments to oppose, and then also move

    18     to dismiss on the threshold jurisdictional issues before we

    19     reach briefing on the merits of the claims.

    20                   THE COURT:    There are all these other cases.

    21     Can you add anything to what has been outlined for me about

    22     the status of those other cases?       And, in particular, is

    23     this the only one where there is a request for expedited

    24     treatment?    If so, do you oppose it on that ground as well?

    25                   MS. WESTMORELAND:     Well, Your Honor, there are
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     1     five cases that -- well, there are eight cases.          There were

     2     eight cases total as Mr. Kedem noted.        One has been

     3     dismissed, two are stayed, and five are active.

     4                   There have been motions for preliminary

     5     injunctions in two of those cases.        But the -- though at

     6     least some of the other cases also challenge the advisory

     7     opinion, the motions for preliminary injunction that have

     8     been filed thus far were specific to the rule that lays out

     9     the ADR process.

    10                   So to the extent Your Honor is asking about

    11     whether there has been a motion to expedite relief on a

    12     claim related to the advisory opinion, there has not.

    13     However, some of those cases do raise claims related to

    14     the advisory opinion.

    15                   But talking about those other cases, plaintiff

    16     here filed their case on the same day as two of those other

    17     cases and certainly has been watching the schedule unfold in

    18     those cases, yet it was the last to move for injunctive

    19     relief, the only one to move for injunctive relief on this

    20     issue, and is now seeking to sort of bolt the resolution of

    21     this case on the merits in front of all the other cases.

    22                   THE COURT:    Right.   And what I couldn't

    23     necessarily tell, is that one of your arguments against

    24     expedition or against preliminary injunction, hey, these

    25     issues are being looked at by multiple judges and why should
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     1     AstraZeneca go first?

     2                   MS. WESTMORELAND:     That's true, Your Honor.

     3                   THE COURT:    All right.    Talk just briefly,

     4     Ms. Westmoreland, about putting together the record.           It

     5     seems likes you had some concern in your letter that maybe

     6     that is, I don't know, something of a burden in some way,

     7     and it seems like part of the response today to that was

     8     that I shouldn't, shouldn't credit that as really a problem

     9     because these are going to be legal issues anyway.          Can you

    10     help me on that?

    11                   MS. WESTMORELAND:     Well, first of all, Your

    12     Honor, plaintiff originally proposed a schedule that would

    13     allow the government time to compile an administrative

    14     record, and then today said an administrative record was

    15     unnecessary, so we're a little confused about the flip-flop

    16     there.   But as we've all sort of acknowledged, there has

    17     been no final agency action here and thus no administrative

    18     record would even be necessary.

    19                   But to the extent that Your Honor orders the

    20     government to provide administrative record or we were to

    21     lose on a motion to dismiss, it would take time for the

    22     agency to determine what the contents of that record should

    23     be and put that before the Court and the parties.

    24                   THE COURT:    All right.    Thank you.

    25                   Mr. Kedem, what do you want to add?
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     1                   MR. KEDEM:    There are a few points.

     2                   First, just on the administrative record.         The

     3     advisory opinion says that it's based solely on the plain

     4     text of the statute.     So we don't see what would go in the

     5     administrative record, but Ms. Westmoreland is correct, we

     6     built in time to the extent that the government says that

     7     they would need time to construct one.        And, again, we would

     8     be willing to make a reasonable adjustment of that if they

     9     insisted they needed additional time.

    10                   We frankly don't understand why the government

    11     would insist on briefing on the preliminary injunction and

    12     decision on a preliminary injunction that could be rendered

    13     wholly unnecessary by briefing instead on summary judgment

    14     where the government would be free to raise the final agency

    15     action or any other threshold issue that it wants to raise.

    16     Those issues are not jurisdictional but even if they were,

    17     those are precisely the type of arguments that routinely get

    18     decided on summary judgment, including in 340B action.

    19                   One thing we didn't hear from the government is

    20     why there would be literally any prejudice to the government

    21     from being forced to proceed in the manner that we suggest.

    22     Nor do we hear that they can contest the concrete

    23     irreparable harm that AstraZeneca is threatened with.

    24                   And I just want to add one more, which is that

    25     at the conclusion of an administrative proceeding, the
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     1     government could also impose civil monetary penalties which

     2     could be pretty exorbitant, and it would be hard to be

     3     subject to a $5,000 per violation BMP at the end of the

     4     proceeding without any irreparable harm.

     5                   So, finally, just on the question of whether

     6     we've delayed.    You know, I don't know if Your Honor wants

     7     us to get more into the back and forth and the reasons why

     8     we filed when we did, but it's all tied to the irreparable

     9     harm that we face from these ADR petitions.

    10                   The first one we got notice of was on January

    11     14th, and we got what we thought was a particularly alarming

    12     request for a preliminary injunction that we received on

    13     January 21st.    We then approached the government on February

    14     8th about a P.I.

    15                   And so we believe that we have proceeding

    16     expeditiously consistent with our need for swift briefing

    17     and decision on the merits, which is really what this is all

    18     about.   The government can get its threshold jurisdictional

    19     or non-jurisdictional issues resolved, and we can get a

    20     ruling on the merits that will help us avoid these concrete

    21     harms if we ultimately prevail in court.

    22                   THE COURT:    So if I look at your proposed

    23     schedule, Mr. Kedem, for the alternative where we expedite

    24     but don't do a P.I., if I counted correctly, it seems like

    25     it would take the briefing through mid-April, if I counted
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     1     correctly, and you have appropriately indicated you are

     2     willing to, you know, discuss possibly a little bit more

     3     time if the government needs it.

     4                   Is that the -- should I confidently, I mean I am

     5     putting aside my own interest for the moment.         I'm not

     6     saying I can make your case my only case, but if I'm just

     7     thinking about it from your perspective, would I be thinking

     8     I have until late April-May before this becomes a real

     9     emergency for your client?

    10                   MR. KEDEM:    Your Honor, as I said, we're a

    11     little bit in the dark about that, but we are prepared as

    12     per the schedule that we had proposed to proceed along those

    13     lines.   And should something happen in the meantime that

    14     would require us to reconsider, we could deal with it then,

    15     but, you know, this is our best stab at a schedule that is

    16     both livable and won't command too much of the Court's or

    17     the parties' resources but would allow us to get to the

    18     merits in a swift manner that would allow to avoid what we

    19     anticipate to be serious harms.

    20                   And, you know, as I said, we are willing to

    21     make reasonable adjustments as the government or the Court

    22     requests.

    23                   THE COURT:    Okay.   Thank you.

    24                   Ms. Westmoreland, is there anything you want to

    25     add?
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     1                   MS. WESTMORELAND:     Your Honor, I think our

     2     positions have been clearly laid out here.         And certainly

     3     you have our proposal in writing as well.

     4                   I would just add if the Court is inclined to

     5     resolve this case on an expedited summary judgment schedule,

     6     defendants would just like the opportunity to propose an

     7     alternative schedule to the one proposed by plaintiff.

     8                   THE COURT:    Okay.   I appreciate that, and I

     9     appreciate the input and the help from both sides.

    10                   Here is what -- I am leaning towards expediting

    11     and getting to the merits and not having to deal with a

    12     preliminary injunction, but I have to admit I'm not quite

    13     ready to decide that at just this moment.

    14                   I will say what would help me be more

    15     comfortable, one way or the other, would be to better

    16     understand how that approach would prejudice the government

    17     if the government really believes that would prejudice them.

    18     That is the argument that I think I'm hearing.          And also to

    19     note what type of schedule the government would propose as

    20     a modification to the plaintiff's proposal if I were to say

    21     that is the way we're going to go forward.

    22                   So I do have an open mind on this.        I'm not

    23     rejecting the idea of a preliminary injunction motion and a

    24     motion to dismiss being briefed either simultaneously or

    25     roughly simultaneously with it, but there is a certain
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     1     attraction to giving you all the amount of time you need --

     2     the least amount of time you need to fully brief the merits

     3     issue and then we have a single hearing after that is all

     4     fully briefed and do my best to make a decision on the time

     5     frame that you would want.

     6                   So here is where we are.      It's the end of the

     7     week, at least East Coast time.       I would -- I'm going to

     8     direct that you all spend a little more time Monday just

     9     talking to each other about what the schedule would look

    10     like if I say that's the direction we're going to go,

    11     namely, the merits briefing.       And for the government to

    12     have another chance to help me understand why that would

    13     be unfairly prejudicial to the government to go in that

    14     direction.

    15                   I'd like to have the results of those

    16     discussions in the form of a joint status report that the

    17     plaintiff could submit on behalf of both sides.          I'd like to

    18     have that by the end of the day Monday, but I also don't

    19     want to ruin everybody's weekend.

    20                   So tell me what you think, Mr. Kedem.        Do you

    21     want to make that due Monday?       And do you have any more

    22     questions for me?

    23                   MR. KEDEM:    Your Honor, we're willing to proceed

    24     on those lines or any other that the Court needs in order to

    25     reach a decision.
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     1                   THE COURT:    All right.    And, Ms. Westmoreland,

     2     what do you think?

     3                   MS. WESTMORELAND:     Your Honor, we're happy to

     4     discuss further with plaintiff and also to explain further

     5     in writing the government's position.

     6                   I'd only ask because it's the end of the week,

     7     it's very difficult to get ahold of our agency client on the

     8     weekend regardless of DOJ lawyers' schedules on the weekend,

     9     so I would just ask that the JSR be due Tuesday, to allow us

    10     Monday at least to talk to our clients before we talk to

    11     plaintiff.

    12                   THE COURT:    Okay.   That is fine.    So that, I am

    13     ordering that all that be submitted on Tuesday.          And if I

    14     need anything further, which I don't think I will, I will

    15     let you know shortly after Tuesday.        Otherwise, you can

    16     expect that we'll have a schedule for how we're going to go

    17     forward as soon after I get your submission on Tuesday.

    18                   Anything further then before we break,

    19     Mr. Kedem?

    20                   MR. KEDEM:    No, Your Honor.

    21                   THE COURT:    And Ms. Westmoreland?

    22                   MS. WESTMORELAND:     Your Honor, I do just want

    23     to clarify.    Our opposition to plaintiff's motion for

    24     preliminary injunction under the local rules would be due

    25     next Friday, the 26th.      And it does sound like us filing an
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     1     opposition on the 26th is one of the options that is sort

     2     of under consideration here, but I just want to confirm

     3     that we're not going to need to file a P.I. opposition next

     4     Friday.

     5                   THE COURT:    Mr. Kedem, you can state your

     6     position.    My thinking is I should at least extend the

     7     response to the P.I. by at least as many days from now as it

     8     takes me to decide if that is the direction we're going, but

     9     do you have an objection to that or a different proposal?

    10                   MR. KEDEM:    No, Your Honor, we would be amenable

    11     to that with the understanding I guess that Your Honor

    12     anticipates coming to a decision about the schedule Tuesday

    13     in any event -- or, I'm sorry, Your Honor, you know,

    14     whenever Your Honor can.

    15                   THE COURT:    Yes, I certainly expect to do it

    16     next week.    It will probably be not Tuesday because I'm not

    17     hearing from you all until Tuesday.

    18                   So, Ms. Westmoreland, you can be comfortable

    19     that your brief is hereby ordered not due next Friday.           It's

    20     due, if I'm thinking correctly, a minimum of two business

    21     days after that and probably a minimum of at least three

    22     business days after that.      And we'll just add on however

    23     many days it takes from now until when I determine what the

    24     schedule is going to be; okay?

    25                   MS. WESTMORELAND:     Thank you.
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     1                   THE COURT:    All right.    Well, thank you all very

     2     much.   Have a nice weekend.      Stay safe.   And we'll be in

     3     touch next week.     Bye-bye.

     4                   MS. WESTMORELAND:     Thank you, Your Honor.

     5                   MR. KEDEM:    Thank you.

     6                   (Telephone conference ends at 5:09 p.m.)

     7

     8            I hereby certify the foregoing is a true and accurate
           transcript from my stenographic notes in the proceeding.
     9

    10                                      /s/ Brian P. Gaffigan
                                           Official Court Reporter
    11                                        U.S. District Court

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                    EXHIBIT G
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                                                                                          CLOSED,APPEAL
                                      U.S. District Court
                              District of Delaware (Wilmington)
                       CIVIL DOCKET FOR CASE #: 1:21−cv−00027−LPS

   AstraZeneca Pharmaceuticals LP v. Xavier Becerra et al          Date Filed: 01/12/2021
   Assigned to: Judge Leonard P. Stark                             Date Terminated: 03/11/2022
   Case in other court: Third Circuit, 22−01676                    Jury Demand: None
   Cause: 05:702 Administrative Procedure Act                      Nature of Suit: 899 Other Statutes:
                                                                   Administrative Procedures Act/Review or
                                                                   Appeal of Agency Decision
                                                                   Jurisdiction: Federal Question

    Date Filed     #    Docket Text
    05/24/2021     71 ORAL ORDER: Having considered the parties' briefing (see D.I. 66, 69, 70), IT IS
                      HEREBY ORDERED that Plaintiff's motion for administrative stay and, in the
                      alternative, for expedition (D.I. 66) is GRANTED IN PART, to the limited extent that
                      the motions hearing set for June 9, 2021 is expedited and RESCHEDULED for
                      Thursday, May 27 beginning at 1:00 p.m. The parties shall provide a joint letter with
                      videoconference information (see D.I. 53) no later than May 25. In all other respects,
                      Plaintiff's motion is DENIED. ORDERED by Judge Leonard P. Stark on 5/24/21. (ntl)
                      (Entered: 05/24/2021)
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                    EXHIBIT H
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                      EXHIBIT I
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         Case 1:21-cv-00691-GBW Document 166 Filed 09/13/22 Page 65 of 179 PageID #: 3054
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 *DLQIURPUHOHDVHRIFHUWDLQOLDELOLWLHV                                                                                                                                   ȉ                                                   
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 2WKHUH[SHQVHFKDQJHVLQIDLUYDOXHRIFRQWLQJHQWFRQVLGHUDWLRQSD\DEOH                                                                                                                                                             
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                     EXHIBIT J
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7KHDJJUHJDWHPDUNHWYDOXHRIYRWLQJVWRFNKHOGE\QRQDIILOLDWHVRIWKHUHJLVWUDQWDVRIWKHODVWEXVLQHVVGD\RIWKHUHJLVWUDQWȍVPRVWUHFHQWO\FRPSOHWHGVHFRQGILVFDOTXDUWHUZDVEDVHGRQWKHFORVLQJVDOHSULFHRIWKHUHJLVWUDQWȍV
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6KDUHVKHOGE\HDFKRIILFHUDQGGLUHFWRUDQGE\VKDUHKROGHUVWKDWWKHUHJLVWUDQWFRQFOXGHGZHUHDIILOLDWHVRIWKHUHJLVWUDQWRQWKDWGDWH([FOXVLRQRIVXFKVKDUHVVKRXOGQRWEHFRQVWUXHGWRLQGLFDWHWKDWDQ\VXFKSHUVRQSRVVHVVHVWKHSRZHUGLUHFWRU
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       Case 1:21-cv-00691-GBW Document 166 Filed 09/13/22 Page 68 of 179 PageID #: 3057
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                                                                                                              US008731963B 1


   c12)    United States Patent                                                           (10)   Patent No.:                     US 8,731,963 Bl
           Reardan et al.                                                                 (45)   Date of Patent:                         *May 20, 2014

   (54)     SENSITIVE DRUG DISTRIBUTION SYSTEM                                              4,976,351    A        12/1990    Mangini et al.
            AND METHOD                                                                      5,737,539    A         4/ 1998   Edelson et al.
                                                                                            5,845,255    A        12/1998    Mayaud
                                                                                            5,924,074    A         7/1999    Evans
   (75)     Inventors: Dayton T. Reardan, Shorewood, MN                                     5,963,919    A    *   10/1999    Brinkley et al ................. 705/28
                       (US); Patti A. Engel, Eagan, MN (US);                                6,021,392    A         2/2000    Lester et al.
                       Bob Gagne, St. Paul, MN (US)                                         6,045,501    A         4/2000    Elsayed et al.
                                                                                            6,055,507    A         4/2000    Cunningham
   (73)     Assignee: Jazz Pharmaceuticals, Inc., Palo Alto,                                6,112,182    A         8/2000    Akers et al.
                                                                                            6,315,720    Bl       11/2001    Williams et al.
                      CA (US)                                                               6,347,329    Bl        2/2002    Evans
                                                                                            6,564,121    Bl        5/2003    Wallace et al.
   ( *)     Notice:       Subject to any disclaimer, the term ofthis                        6,687,676    Bl        2/2004    Denny
                          patent is extended or adjusted under 35
                                                                                                                     (Continued)
                          U.S.C. 154(b) by O days.
                          This patent is subject to a terminal dis-                                FOREIGN PATENT DOCUMENTS
                          claimer.
                                                                                     EP                  0527027 Al            2/1993
   (21)     Appl. No.: 13/592,202                                                                         OTHER PUBLICATIONS

   (22)     Filed:        Aug. 22, 2012                                              "Advisory Conunittee Video on Xyrem, Oral Solution", (May 29,
                                                                                     2001 ), 9 minutes, 8 seconds.
                      Related U.S. Application Data
                                                                                                                     (Continued)
   (63)     Continuation of application No. 13/013,680, filed on
            Jan. 25, 2011, now abandoned, which is a continuation                    Primary Examiner - Lena Najarian
            of application No. 12/704,097, filed on Feb. 11, 2010,                   (74) Attorney, Agent, or Firm - Schwegman Lundberg &
            now Pat. No. 7,895,059, which is a continuation of                       Woessner, P.A.
            application No. 10/322,348, filed on Dec. 17, 2002,
            now Pat. No. 7,668,730.                                                  (57)                           ABSTRACT
                                                                                     A drug distribution system and method utilizes a central
   (51)     Int. Cl.
                                                                                     pharmacy and database to track all prescriptions for a sensi-
            G06Q 10100                    (2012.01)
                                                                                     tive drug. Information is kept in the database regarding all
   (52)     U.S. Cl.
                                                                                     physicians allowed to prescribe the sensitive drug, and all
            USPC .................................... 705/2; 705/3; 707/803
                                                                                     patients receiving the drug. Abuses are identified by monitor-
   ( 58)    Field of Classification Search                                           ing data in the database for prescription patterns by physi-
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            See application file for complete search history.                        cation is made that the physician is eligible to prescribe the
                                                                                     drug by consulting a separate database, and optionally
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                                                                                     whether any actions are taken against the physician. Multiple
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Case 1:21-cv-00691-GBW Document 166 Filed 09/13/22 Page 124 of 179 PageID #: 3113


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Case 1:21-cv-00691-GBW Document 166 Filed 09/13/22 Page 126 of 179 PageID #: 3115


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Case 1:21-cv-00691-GBW Document 166 Filed 09/13/22 Page 128 of 179 PageID #: 3117


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                   203-798-2291

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           PAT!ENT rt~ME
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Case 1:21-cv-00691-GBW Document 166 Filed 09/13/22 Page 131 of 179 PageID #: 3120


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              <ADDRESS 2>                                                                 <ADD!lSS 2>
              <CITY, STATE Z!P GODE>                                                      <GiW, S1Aff Z!P CODE>
              PHONE: <123-456-7390                                                        !}!ONE;_ <123~456-1890
              DOB: 01/01/1900
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              PHONE: <l2j-4~i6--J890                                                      PHONE: <123-456--7890
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       SENSITIVE DRUG DISTRIBUTION SYSTEM                               to accept shipment of the drug. Receipt of the initial drug
                   AND METHOD                                           shipment is confirmed by contacting the patient. Either a
                                                                        phone call or other communication to the patient within a set
                     RELATED APPLICATION                                time after delivery may be made to ensure receipt. Further, a
                                                                      5 courier service's tracking system is used to confirm delivery
      This application a Continuation of U.S. application Ser.          in further embodiments. If a shipment is lost, an investigation
   No. 13/013,680, filed on Jan. 25, 2011, which is a Continua-         is launched to find it.
   tion of U.S. application Ser. No. 12/704,097, filed on Feb. 11,          In one embodiment, the drug may be shipped by the central
   2010 and issued on Feb. 22, 2011 as U.S. Pat. No. 7,895,059,         pharmacy to another pharmacy for patient pick-up. The sec-
   which is a Continuation of U.S. application Ser. No. 10/322, 10 ond pharmacy's ability to protect against diversion before
   348, filed on Dec. 17, 2002 and issued on Feb. 23, 2010 as           shipping the drug must be confirmed. This ability may be
   U.S. Pat. No. 7,668,730, which applications are incorporated         checked through NTIS and State Boards of Pharmacy.
   by reference herein in their entirety.                                   Prescription refills are permitted in the number specified in
                                                                        the original prescription. In addition, if a prescription refill is
                    FIELD OF THE INVENTION                           15 requested by the patient prior to the anticipated due date, such
                                                                        refills will be questioned. A lost, stolen, destroyed or spilled
      The present invention relates to distribution of drugs, and       prescription/supply is documented and replaced to the extent
   in particular to the distribution of sensitive drugs.                necessary to honor the prescription, and will also cause a
                                                                        review or full investigation.
              BACKGROUND OF THE INVENTION                            20     The exclusive central database contains all relevant data
                                                                        related to distribution of the drug and process of distributing
      Sensitive drugs are controlled to minimize risk and ensure        it, including patient, physician and prescription information.
   that they are not abused, or cause adverse reactions. Such           Several queries and reports are run against the database to
   sensitive drugs are approved for specific uses by the Food and       provide information which might reveal potential abuse of the
   Drug Administration, and must be prescribed by a licensed 25 sensitive drug, such as early refills.
   physician in order to be purchased by consumers. Some
   drugs, such as cocaine and other common street drugs are the                 BRIEF DESCRIPTION OF THE DRAWINGS
   object of abuse and illegal schemes to distribute for profit.
   Some schemes include Dr. shopping, diversion, and phar-                  FIG. 1 is a block diagram of a computer system for use in
   macy thefts. A locked cabinet or safe is a requirement for 30 implementing the system and method of the present inven-
   distribution of some drugs.                                          tion.
      Certain agents, such as gamma hydroxy buterate (GHB)                  FIGS. 2A, 2B and 2C are a flowchart describing a method
   are also abused, yet also are effective for therapeutic purposes     for sensitive drug distribution at least partially utilizing a
   such as treatment of daytime cataplexy in patients with nar-         computer system such as that shown in FIG. 1.
   colepsy. Some patients however, will obtain prescriptions 35             FIG. 3 is a flowchart of a physician success program at least
   from multiple doctors, and have them filled at different phar-       partially implemented on a computer system such as that
   macies. Still further, an unscrupulous physician may actually        shown in FIG. 1.
   write multiple prescriptions for a patient, or multiple patients,        FIGS. 4A and 4B are a flowchart describing a method for
   who use cash to pay for the drugs. These patients will then sell     handling refill requests at least partially utilizing a computer
   the drug to dealers or others for profit.                         40 system such as that shown in FIG. 1.
      There is a need for a distribution system and method that             FIG. 5 is a flowchart of a process for requesting special
   directly addresses these abuses. There is a further need for         reimbursement when a patient is uninsured or underinsured at
   such a system and method that provides education and limits          least partially utilizing a computer system as that shown in
   the potential for such abuse.                                        FIG. 1.
                                                                     45     FIG. 6 is a flowchart of a process for inventory control at
                 SUMMARY OF THE INVENTION                               least partially utilizing a computer system such as that shown
                                                                        in FIG.1.
      A drug distribution system and method utilizes a central              FIG. 7 is a block diagram of database fields.
   pharmacy and database to track all prescriptions for a sensi-            FIG. 8 is a block diagram showing a list of queries against
   tive drug. Information is kept in a central database regarding 50 the database fields.
   all physicians allowed to prescribe the sensitive drug, and all          FIG. 9 is a copy of one example prescription and enroll-
   patients receiving the drug. Abuses are identified by monitor-       ment form.
   ing data in the database for prescription patterns by physi-             FIG. 10 is a copy of one example of a NORD application
   cians and prescriptions obtained by patients. Further verifi-        request form for patient financial assistance.
   cation is made that the physician is eligible to prescribe the 55        FIG. 11 is a copy of one example voucher request for
   drug by consulting a separate database for a valid DEA               medication for use with the NORD application request form
   license, and optionally state medical boards to determine            ofFIG.10.
   whether any corrective or approved disciplinary actions relat-           FIG. 12 is a copy of certificate of medical need.
   ing to controlled substances have been brought against the               FIGS. 13A, 13B and 13C are descriptions of sample
   physician. Multiple controls beyond those for traditional 60 reports obtained by querying a central database having fields
   drugs are imposed on the distribution depending on the sen-          represented in FIG. 7.
   sitivity of the drug.
      Education is provided to both physician and patient. Prior             DETAILED DESCRIPTION OF THE INVENTION
   to shipping the drug for the first time, the patient is contacted
   to ensure that product and abuse related educational materials 65        In the following description, reference is made to the
   have been received and/or read. The patient may provide the          accompanying drawings that form a part hereof, and in which
   name of a designee to the central pharmacy who is authorized         is shown by way of illustration specific embodiments in
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   which the invention may be practiced. These embodiments                   other type of storage device. In one embodiment, storage 140
   are described in sufficient detail to enable those skilled in the         is used to house a database for use with the present invention.
   art to practice the invention, and it is to be understood that            I/O 150 comprises keyboards, sound devices, displays and
   other embodiments may be utilized and that structural, logical            other mechanisms by which a user interacts with the com-
   and electrical changes may be made without departing from            5    puter system 100. Communications 160 comprises a network,
   the scope of the present invention. The following description             phone connection, local area network, wide area network or
   is, therefore, not to be taken in a limited sense, and the scope          other mechanism for communicating with external devices.
   of the present invention is defined by the appended claims.               Such external devices comprise servers, other peer computers
       The functions or algorithms described herein are imple-               and other devices. In one embodiment, such external device
   mented in software or a combination of software and human            10   comprises a database server that is used in place of the data-
   implemented procedures in one embodiment. The software                    base on storage 140. Other computer system architectures
   comprises computer executable instructions stored on com-                 capable of executing software and interacting with a database
   puter readable media such as memory or other type of storage              and users may also be used. Appropriate security measures
   devices. The term "computer readable media" is also used to               such as encryption are used to ensure confidentiality. Further,
   represent carrier waves on which the software is transmitted.        15   data integrity and backup measures are also used to prevent
   Further, such functions correspond to modules, which are                  data loss.
   software, hardware, firmware of any combination thereof.                     FIGS. 2A, 2B and 2C represent an initial prescription order
   Multiple functions are performed in one or more modules as                entry process for a sensitive drug, such as Xyrem. At 202, a
   desired, and the embodiments described are merely                         medical doctor (MD) sends a Rx/enrollment form via mail,
   examples. The software is executed on a digital signal pro-          20   fax, email or other means to an intake/reimbursement special-
   cessor, ASIC, microprocessor, or other type of processor                  ist at 204, who makes a copy of the RX/enrollment form that
   operating on a computer system, such as a personal computer,              is stamped "copy". The original fax is forwarded to a phar-
   server or other computer system.                                          macy team. The enrollment form contains prescriber infor-
       A sensitive drug is one which can be abused, or has addic-            mation, prescription information, checkboxes for the pre-
   tion properties or other properties that render the drug sensi-      25   scriber indicating they have read materials, educated the
   tive. One example of such a drug is sodium oxybate, also                  patient, understand the use in treatment, and understand cer-
   known as gamma hydroxy butyrate (GHB C4 H 7 NaO 3 ) which                 tain safety information, and also contains patient information.
   is useful for treatment of cataplexy in patients with narco-                 The prescriber information contains standard contact
   lepsy. GHB is marketed under the trademark of Xyrem®                      information as well as license number, DEA number and
   (sodium oxybate oral solution), which trademark can be used          30   physician specialty. Patient and prescription information
   interchangeably with GHB herein. Sensitive drugs also                     includes name, social security number, date of birth, gender,
   include narcotics or other drugs which require controls on                contact information, drug identification, patient's appropriate
   their distribution and use to monitor behaviors to prevent                dosage, and number of refills allowed, along with a line for
   abuse and adverse side effects.                                           the prescriber's signature. Patient insurance information is
       In one embodiment, Xyrem® is subject to a restricted             35   also provided.
   distribution program. One aspect of the program is to educate                There are two workflows involved at the pharmacy team,
   physicians and patients about the risks and benefits ofXyrem,             intake reimbursement 206 and pharmacy workflow 208,
   including support via ongoing contact with patients and a toll            which may proceed in parallel or serially. The intake work
   free helpline. Initial prescriptions are filled only after a pre-         flow 206 starts with an intake reimbursement specialist enter-
   scriber and patient have received and read the educational           40   ing the patient and physician information into an application/
   materials. Further, patient and prescribing physician regis-              database referred to as CHIPS, which is used to maintain a
   tries are maintained and monitored to ensure proper distribu-             record of a client home infusion program (CHIP) for
   tion.                                                                     Xyrem®. A check is made to ensure the information is com-
       In a further embodiment, bulk sodium oxybate is manufac-              plete at 212. If not, at 214, an intake representative attempts to
   tured at a single site, as is the finished drug product. Following   45   reach the MD or prescriber to obtain the missing information.
   manufacture of the drug product, it is stored at a facility               If the missing information has not been obtained within a
   compliant with FDA Schedule III regulations, where a con-                 predetermined period of time, such as 24 hours at 216, the
   signment inventory is maintained. The inventory is owned by               Rx/Enrollment form is sent back to the MD with a rejection
   a company, and is managed by a central pharmacy, which                    explanation. A note is entered in CHIPS that the application
   maintains the consignment inventory. Xyrem® is distributed           50   was rejected.
   and dispensed through a primary and exclusive central phar-                  If the information is complete at 212, the MD is contacted
   macy, and is not stocked in retail pharmacy outlets. It is                at 220 to verify receipt and accuracy of the patient's Rx. This
   distributed by overnight carriers, or by US mail in one                   contact is recorded in CHIPS. The intake and reimbursement
   embodiment to potentially invoke mail fraud laws if attempts              specialist then sends a consent form and a cover letter to the
   of abuse occur.                                                      55   patient at 224. The insurance provider is contacted at 226 to
       FIG. 1 is a simplified block diagram of a computer system             verify coverage and benefits. At 228, a determination is made
   100, such as a personal computer for implementing at least a              regarding coverage for the drug. If it is not available, it is
   portion of the methods described herein. A central processing             determined at 230 whether the patient is willing and able to
   unit (CPU) 110 executes computer programs stored on a                     pay. If not, a process is performed for handling patients who
   memory 120. Memory 120 in one embodiment comprises one               60   are uninsured or underinsured. In one embodiment, the pro-
   or more levels of cache as desired to speed execution of the              cess is referred to as a NORD process.
   program and access to data on which the programs operate.                    If the patient is willing and able to pay at 230, the patient is
   The CPU is directly coupled to memory 120 in one embodi-                  informed of the cost of the product and is given payment
   ment. Both CPU 110 and memory 120 are coupled to a bus                    options at 234. At 236, once payment is received, the intake
   130. A storage 140, I/O150 and communications 160 are also           65   reimbursement specialist submits a coverage approval form
   coupled to the bus 130. Storage 140 is usually a long term                with the enrollment form to the pharmacy team as notification
   storage device, such as a disk drive, tape drive, DVD, CD or              to process the patient's prescription. If coverage is approved
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   at 228, the intake reimbursement specialist also submits the             criminal penalties into play. Following shipment, the patient
   coverage approval form with the enrollment form to the phar-             is called by the central pharmacy to confirm that the prescrip-
   macy team as notification to process the patient's prescrip-             tion was received.
   tion. Processing of the prescription is described below.                    As noted at 266, for the sensitive drug, Xyrem, all inven-
      Upon receipt and initial processing of the prescription          5    tory is cycle counted and reconciled with the database system
   enrollment form and sending an original to the pharmacy                  quantities before shipments for the day are sent. This provides
   work flow block 208, the patient is shipped a Xyrem® success             a very precise control of the inventory.
   packet via mail. In one embodiment, the Xyrem® success                      A physician success program materials request process
   packet contains educational material for a patient that advises          begins at 310 in FIG. 3. At 320, the MD calls to the central
   of the proper use, care and handling of the drug and conse-         10   pharmacy to request program materials. A special phone
   quences of diversion at 268. The medical doctor's credentials            number is provided. MD demographics, DEA number, and
   are checked to determine if the physician has a current DEA              data or request are entered into the database at 330. At 340, a
   license to prescribe controlled substances and ifhe or she has           request is made to ship the materials to the MD via a fulfill-
   had any actions related to misuse/misprescribing of con-                 ment website, or other mechanism. The request process ends
   trolled drugs against him or her, within a predetermined time,      15   at 350.
   such as three months at 270. If they have, a pharmacist holds               A refill request process begins at 302 in FIGS. 4A and 4B.
   the prescription until receiving a coverage approval form                There are two different paths for refills. A first path beginning
   from the intake reimbursement specialist at 272.                         at 404 involves generating a report from the central database
      If the credentials have not been recently checked, the phar-          of patients with a predetermined number of days or product
   macist verifies the credentials and enters all findings in the      20   remaining. A second path beginning at 406 is followed when
   database at 274. If the credentials are approved at 276, the             a patient calls to request an early refill.
   physician is indicated as approved in a physician screen popu-              In the first path, a copy of the report is provided to an intake
   lated by information from the database at 280. The prescrip-             reimbursement specialist at 408. No sooner than 8 days
   tion is then held pending coverage approval at 282.                      before the medication depletion, a pharmacy technician con-
      If any disciplinary actions are identified, as referenced at     25   tacts the patient at 410 to complete the pre-delivery 30 check-
   block 278, management of the pharmacy is notified and either             list. At 412, if the patient is not reached, a message is left
   approves processing of the prescription with continued moni-             mentioning the depletion, and a return number at 414. A note
   toring of the physician, or processing of the prescription is not        is also entered into the database indicating the date the mes-
   performed, and the physician is noted in the database as                 sage was left at 416.
   unapproved at 284. The enrollment form is then mailed back          30      If the patient is reached at 412, the next shipment is sched-
   to the physician with a cover letter reiterating that the pre-           uled at 418, the prescription is entered into the database
   scription cannot be processed at 288. The patient is also sent           creating an order at 420, the pharmacist verifies the prescrip-
   a letter at 290 indicating that the prescription cannot be pro-          tion and attaches a verification label at 422 and the shipment
   cessed and the patient is instructed to contact their physician.         is confirmed in the database at 424. Note at 426 that the
      Actual filling of the approved prescription begins with          35   inventory is cycle counted and reconciled with the database
   receipt of the coverage approval form as indicated at 240. The           quantities before the shipments for a day or other time period
   patient is contacted by the pharmacy, such as by a technician            are sent. A pick ticket is generated for the order and the order
   to complete a technician section of a patient counseling                 is forwarded for fulfillment at 428, with the first path ending
   checklist. If a pharmacist verifies that the program materials           at 430.
   were not read at 242, the receipt of the material is confirmed      40      The second path, beginning at 406 results in a note code
   at 244 and another call is scheduled to counsel the patient              being entered into the database on a patient screen indicating
   before the drug is shipped.                                              an early refill request at 432. The pharmacist evaluates the
      If the program materials, were read at 242, the checklist is          patient's compliance with therapy or possible product diver-
   completed at 246 and the technician transfers the patient to             sion, misuse or over-use at 436. In one embodiment, cash
   the pharmacist who reviews the entire checklist and com-            45   payers are also identified. The pharmacist then contacts the
   pletes remaining pharmacist specified sections. At 248, the              prescribing physician to alert them of the situation and con-
   pharmacists indicates in the database that the patient coun-             firm if the physician approves of the early refill at 438. If the
   seling and checklist was successfully completed, indicating              physician does not approve as indicated at 440, the patient
   the date completed.                                                      must wait until the next scheduled refill date to receive addi-
      At 250, the pharmacist schedules the patient's shipment for      50   tional product as indicated at 442, and the process ends at 444.
   the next business day or the next business day that the patient             If the physician approves at 440, the pharmacist enters a
   or designee is able to sign for the package. Further, as indi-           note in the database on a patient screen that the physician
   cated at 252, the shipment must be sent to the patient's home            approves the request at 446. The pharmacist notifies an intake
   address unless the patient is traveling or has moved. In that            reimbursement specialist to contact the patient's insurance
   event, the pharmacist may determine that an exception may           55   provider to verify coverage for the early refill at 448. If the
   be made. The patient or the patient's designee who is at least           insurance provider will pay as determined at 450, the special-
   18 years old, must sign for the package upon delivery.                   ist submits the coverage approval form as notification that the
      At 254, the pharmacist enters the prescription order in the           refill may be processed at 452. At 454, the pharmacy techni-
   database, creating an order number. The pharmacist then                  cian contacts the patient to schedule shipment of the product
   verifies at 256 the prescription and attaches a verification        60   for the next business day, and the process of filling the order
   label to the hard copy prescription. At 258, a pick ticket is            is continued at 456 by following the process beginning at 240.
   generated for the order and the order is forwarded to the                   If the insurance provider will not pay at 450, it is deter-
   pharmacy for fulfillment. The shipment is confirmed in the               mined whether the patient is willing and/or able to pay at 458.
   database at 260, and the order is shipped by USPS Express                If not, the patient must wait until the next scheduled refill date
   Mail. Use of the US mail invokes certain criminal penalties         65   to receive additional product at 460. If it was determined at
   for unauthorized diversion. Optionally, other mail services              458 that the patient was willing and able to pay, the patient is
   may be used. Potential changes in the law may also bring                 informed of the cost of the product and is given payment
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   options at 462. Once payment is received as indicated at 464,           prescribers and patients are tracked and subject to such inves-
   the specialist submits a coverage approval form to the phar-            tigations. In further embodiments, the central database may
   macy team as notification that the refill request can be pro-           be distributed among multiple computers provided a query
   cessed at 466. At 468, the pharmacy technician contacts the             operates over all data relating to such prescriptions, prescrib-
   patient to schedule shipment. The process of filling the order     5    ers and patients for the drug.
   is continued at 470 by following the process beginning at 240.             An example of one prescription and enrollment form is
      A process, referred to as a NORD process in one embodi-              shown at 900 in FIG. 9. As previously indicated, several fields
   ment is used to determine whether donated, third party funds            are included for prescriber information, prescription informa-
   are available for paying for prescriptions where neither insur-         tion and patient information.
   ance will, nor the patient can pay. The process begins at 510      10      FIG. 10 is a copy of one example NORD application
   upon determining that a patient is uninsured or underinsured.           request form 1000 used to request that an application be sent
   A reimbursement specialist explains the NORD program to                 to a patient for financial assistance.
   the patient and faxes an application request form to NORD for              FIG. 11 is a copy of one example application 1100 for
   the patient. At 515, the intake reimbursement specialist docu-          financial assistance as requested by form 1000. The form
   ments in the database that an application has been received        15   requires both patient and physician information. Social secu-
   through NORD. At 520, NORD mails an application to the                  rity number information is also requested. The form provides
   patient within one business day.                                        information for approving the financial assistance and for
      A determination is made at 525 by NORD whether the                   tracking assistance provided.
   patient is approved. If not, at 530, NORD sends a denial letter            FIG. 12 is a copy of one example voucher request for
   to the patient, and it is documented in the database at 540 that   20   medication for use with the NORD application request form
   the patient was denied by NORD. If the patient is approved,             of FIG. 10. In addition to patient and physician information,
   NORD sends an acceptance letter to the patient and faxes a              prescription information and diagnosis information is also
   voucher to the central pharmacy (SDS in one embodiment) to              provided.
   indicate the approval at 545. At 550, an intake reimbursement              FIGS. 13A, 13B and 13C are descriptions of sample
   specialist submits a coverage approval form to the pharmacy        25   reports obtained by querying a central database having fields
   team as notification that the patient has been approved for             represented in FIG. 7. The activities grouped by sales, regu-
   coverage. The process of filling the order is continued at 555          latory, quality assurance, call center, pharmacy, inventory,
   by following the process beginning at 240.                              reimbursement, patient care and drug information. Each
      An inventory control process is illustrated in FIG. 6 begin-         report has an associated frequency or frequencies. The reports
   ning at 610. Each week, a responsible person at the central        30   are obtained by running queries against the database, with the
   pharmacy, such as the director of the pharmacy transfers                queries written in one of many query languages.
   inventory for the week's shipments to a segregated warehouse               While the invention has been described with respect to a
   location for production inventory. At 620, a purchase order is          Schedule III drug, it is useful for other sensitive drugs that are
   generated for the inventory transferred to the production loca-         DEA or Federally scheduled drugs in Schedule II-V, as well
   tion and is sent, such as by fax, to a controller, such as the     35   as still other sensitive drugs where multiple controls are
   controller of the company that obtained approval for distri-            desired for distribution and use.
   bution and use of the sensitive drug. At 630, the controller
   invoices the central pharmacy for the product moved to pro-                The invention claimed is:
   duction. The process ends at 640.                                          1. A computer-implemented system for treatment of a nar-
      The central database described above is a relational data-      40   coleptic patient with a prescription drug that has a potential
   base running on the system ofFIG. 1, or a server based system           for misuse, abuse or diversion, comprising:
   having a similar architecture coupled to workstations via a                one or more computer memories for storing a single com-
   network, as represented by communications 160. The data-                      puter database having a database schema that contains
   base is likely stored in storage 140, and contains multiple                   and interrelates prescription fields, patient fields, and
   fields of information as indicated at 700 in FIG. 7. The orga-     45         prescriber fields;
   nization and groupings of the fields are shown in one format               said prescription fields, contained within the database
   for convenience. It is recognized that many different organi-                 schema, storing prescriptions for the prescription drug
   zations or schemas may be utilized. In one embodiment, the                    with the potential for abuse, misuse or diversion,
   groups of fields comprise prescriber fields 710, patient fields               wherein the prescription drug is sold or distributed by a
   720, prescription fields 730 and insurance fields 740. For         50         company that obtained approval for distribution of the
   purposes of illustration, all the entries described with respect              prescription drug;
   to the above processes are included in the fields. In further              said patient fields, contained within the database schema,
   embodiments, no such groupings are made, and the data is                      storing information sufficient to identify the narcoleptic
   organized in a different manner.                                              patient for whom the company's prescription drug is
      Several queries are illustrated at 800 in FIG. 8. There may     55         prescribed;
   be many other queries as required by individual state report-              said prescriber fields, contained within the database
   ing requirements. A first query at 810 is used to identify                    schema, storing information sufficient to identify a phy-
   prescriptions written by physician. The queries may be writ-                  sician or other prescriber of the company's prescription
   ten in structured query language, natural query languages or                  drug and information to show that the physician or other
   in any other manner compatible with the database. A second         60         prescriber is authorized to prescribe the company's pre-
   query 820 is used to pull information from the database                       scription drug;
   related to prescriptions by patient name. A third query 830 is             a data processor configured to:
   used to determine prescriptions by frequency, and a n th query             process a database query that operates over all data related
   finds prescriptions by dose at 840. Using query languages                     to the prescription fields, prescriber fields, and patient
   combined with the depth of data in the central database allows     65         fields for the prescription drug; and
   many other methods ofinvestigating for potential abuse of the             reconcile inventory of the prescription drug before the
   drugs. The central database ensures that all prescriptions,                   shipments for a day or other time period are sent by using
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          said database query to identify information in the pre-              18. The system of claim 17, wherein the data processor is
          scription fields and patient fields;                              used to add further controls until approval is obtained.
       wherein the data processor is configured to process a sec-              19. The system of claim 18, wherein the approval body is
          ond database query that identifies that the narcoleptic           the Food and Drug Administration (FDA) or the Drug
          patient is a cash payer and a physician that is interrelated 5    Enforcement Agency (DEA).
          with the narcoleptic patient through the schema of the               20. The system of claim 1, wherein current inventory is
          single computer database;                                         cycle counted and reconciled with database quantities before
       said identifying that the narcoleptic patient is a cash payer        shipments for a day or other time period are sent.
                                                                               21. The system of claim 1, wherein the single computer
          by said second database query being an indicator of a
                                                                       10   database comprises an exclusive computer database of the
          potential misuse, abuse or diversion by the narcoleptic
                                                                            company that obtained approval for distribution of the pre-
          patient and being used to notify the physician that is
                                                                            scription drug, wherein all prescriptions for the company's
          interrelated with the narcoleptic patient through the
                                                                            prescription drug are stored only in the exclusive computer
          schema of the single computer database.                           database of the company, and wherein the company's pre-
       2. The system of claim 1, wherein the data processor selec- 15       scription drug is sold or distributed by the company using
   tively blocks shipment of the prescription drug to the patient           only the exclusive computer database of the company.
   based upon said identifying by the database query.                          22. The system of claim 1, wherein the single computer
       3. The system of claim 1, wherein the prescription drug is           database comprises a single computer database of the com-
   shipped to the narcoleptic patient if no potential misuse,               pany that obtained approval for distribution of the prescrip-
   abuse or diversion is found for the narcoleptic patient.            20   tion drug, wherein the prescription fields store all prescription
       4. The system of claim 1, wherein the single computer                requests, for all patients being prescribed the company's pre-
   database is an exclusive database that receives data associated          scription drug, only in the single computer database of the
   with all patients being prescribed the prescription drug that is         company, from all physicians or other prescribers allowed to
   associated with the company.                                             prescribe the company's prescription drug, such that all pre-
       5. The system of claim 1, wherein an exclusive central 25            scriptions for the company's prescription drug are processed
   pharmacy controls the single computer database.                          using only the single computer database of the company.
       6. The system of claim 1 wherein the prescription drug                  23. A computer-implemented system for treatment of a
   comprises gamma hydroxyl butyrate (GHB).                                 narcoleptic patient with a prescription drug that has a poten-
       7. The system of claim 1, wherein the single computer                tial for misuse, abuse or diversion, comprising:
   database comprises a relational database.                           30      one or more computer memories for storing a single com-
       8. The system of claim 1, wherein the single computer                      puter database having a database schema that contains
   database is distributed among multiple computers and the                       and interrelates prescription fields, patient fields, and
   database query operates over all data relating to said prescrip-               prescriber fields;
   tion fields, prescriber fields, and patient fields for the pre-             said prescription fields, contained within the database
   scription drug.                                                     35         schema, storing prescriptions for the prescription drug
       9. The system of claim 1, wherein the data processor is                    with the potential for abuse, misuse or diversion,
   configured to initiate an inquiry to a prescriber when one or                  wherein the prescription drug is sold or distributed by a
   more prescription fields, patient fields, or prescriber fields are             company that obtained approval for distribution of the
   incomplete in the computer database.                                           prescription drug;
       10. The system of claim 1, wherein the data processor is 40             said patient fields, contained within the database schema,
   configured to process a third database query that identifies an                storing information sufficient to identify the narcoleptic
   expected date for a refill of the prescription drug.                           patient for whom the company's prescription drug is
       11. The system of claim 10, wherein the expected date is                   prescribed;
   based on a prescription for the prescription drug and a date of             said prescriber fields, contained within the database
   a previous filling of the prescription.                             45         schema, storing information sufficient to identify a phy-
       12. The system of claim 11, wherein the prescription iden-                 sician or other prescriber of the company's prescription
   tifies an amount of the prescription drug to be provided and a                 drug and information to show that the physician or other
   schedule for consumption of the prescription drug.                             prescriber is authorized to prescribe the company's pre-
       13. The system of claim 1, wherein the database schema                     scription drug;
   further contains and interrelates insurance fields, wherein the 50          a data processor for processing a database query that oper-
   insurance fields, contained within the database schema, store                  ates over all data related to the prescription fields, pre-
   information sufficient to identify an insurer to be contacted                  scriber fields, and patient fields for the prescription drug;
   for payment for prescription drugs of an associated patient.                said database query identifying information in the pre-
       14. The system of claim 1, wherein the single computer                     scription fields and patient fields for reconciling inven-
   database is used to identify a current pattern or an anticipated 55            tory of the prescription drug before the shipments for a
   pattern of abuse of the prescription drug; wherein the current                 day or other time period are sent, wherein an inventory
   pattern or the anticipated pattern are identified using periodic               reconciliation is performed where current inventory is
   reports generated from the single computer database.                           counted and reconciled with database quantities before
       15. The system of claim 14, wherein one or more controls                   shipments for a day or other time period are sent, and
   for distribution of the prescription drug are selected based on 60             wherein the data processor is configured to selectively
   the identified pattern.                                                        block shipment of the prescription drug based on the
       16. The system of claim 15, wherein the one or more                        inventory reconciliation;
   controls are submitted to an approval body for approval of                  wherein the data processor is configured to process a sec-
   distribution of the prescription drug.                                         ond database query that identifies that the narcoleptic
       17. The system of claim 1, wherein additional controls for 65              patient is a cash payer and a physician that is interrelated
   distribution are selected in a negotiation with an approval                    with the narcoleptic patient through the schema of the
   body to gamer the approval of distribution.                                    single computer database;
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                                                          US 8,731,963 Bl
                                  11                                                                        12
      said ide1_1tifying that the narcoleptic patient is a cash payer           said one or more database queries checking for abuse
         by said second database query being an indicator of a                     within the central computer database, wherein the filling
         pot~ntial misu~e, abuse or diversion by the narcoleptic                   of the prescriptions is authorized for the company's
         patient and bemg used to notify the physician that is                     prescription drug only if there is no record of incidents
         interrelated with the narcoleptic patient through the          5          that indicate abuse, misuse, or diversion by the narco-
         schema of the single computer database.
                                                                                   leptic patient and prescriber and if there is a record of
      24. A computer-implemented system for treatment of a
   ~arcolept~c patient with a prescription drug that has a poten-                  such incidents, the central computer database indicates
   tial for misuse, abuse or diversion, wherein the prescription                   that such incidents have been investigated, and the cen-
   drug is sold or distributed by a company that obtained                          tral computer database indicates that such incidents do
                                                                        10
   approval for distribution of the prescription drug, comprising:                 not involve abuse, misuse or diversion.
      one or more computer memories for storing a central com-                  25. The system of claim 24, wherein the one or more
         puter database of the company that obtained approval for            database queries are processed by the one or more data pro-
         dis!ri~ution of the prescription drug, for receiving pre-           cessors for identifying: that the narcoleptic patient is a cash
         scnpt10ns from any and all patients being prescribed the            payer and a physician that is interrelated with the narcoleptic
         company's prescription drug, said central computer             15
                                                                             patient through the schema of the single computer database;
         database having a database schema that contains and
                                                                                said identifying that the narcoleptic patient is a cash payer
         interrelates prescription fields, patient fields, and pre-
         scriber fields;                                                           by said second database query being an indicator of a
      said central computer database being distributed over mul-                   potential misuse, abuse or diversion by the narcoleptic
         tiple computers;                                               20
                                                                                   patient and being used to notify the physician that is
      said prescription fields, contained within the database                      interrelated with the narcoleptic patient through the
         schema, storing prescriptions for the prescription drug                   schema of the single computer database.
                                                                                26. The system of claim 24, where the central computer
         with the potential for abuse, misuse or diversion;
      said patient fields, contained within the database schema              database is distributed mnong multiple computers, and where
         storing information sufficient to identify the narcolepti~     25
                                                                             the one or more database queries operate over all data relating
         patient for whom the company's prescription drug is                 to said prescription fields, prescriber fields, and patient fields
         prescribed;                                                         for the prescription drug.
                                                                                27. The system of claim 24, wherein the central computer
      said prescriber fields, contained within the database
         schema, storing information sufficient to identify any              database is used to identify a current pattern or an anticipated
         and all physicians or other prescribers of the company's       30
                                                                             pattern of abuse of the prescription drug;
         prescription drug and information to show that the phy-                wherein the current pattern or the anticipated pattern are
         sicians or other prescribers are authorized to prescribe                  identified using periodic reports generated from the
         the company's prescription drug;                                          single computer database.
                                                                                28. The system of claim 24, wherein current inventory is
      one or more data processors for processing one or more
         database queries that operate over data related to the         35
                                                                             cycle counted and reconciled with database quantities before
         prescription fields, prescriber fields, and patient fields          shipments for a day or other time period are sent.
         for the prescription drug;                                                                  * * * * *
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 October 18, 2021



Avadel delay hands Jazz another narcolepsy
boost
       Amy Brown


A delay to the FDA’s decision on Avadel’s narcolepsy project, FT218, allows Jazz investors a second bout of
schadenfreude in as many weeks. The once-a-night pill could become a big competitor to Jazz’s twice-a-night
Xyrem/Xyway franchise; the news follows the exit of another potential rival, Takeda’s TAK-994,
recently abandoned on safety concerns. When the FDA’s verdict on FT218, which had a Pdufa date of October
15, might emerge is unclear. Avadel insists the regulator made no new information requests, saying only that
action was unlikely in October. A short delay due to a lack of resources at the agency would be the best case
scenario. However, the FDA could be mulling more serious issues, Stifel analysts mooted: firstly that Avadel
might need to go down the generic filing route – Xyrem/Xyway and FT218 contain the same active ingredient –
a scenario that would lead to a 30-month stay to approval. Or perhaps the agency is considering whether
FT218 really deserves orphan drug exclusivity, which is largely based on its dosage advantage. A 15% drop in
Avadel’s stock this morning suggests investors are cautiously optimistic that the delay will be short. The
outlook for the narcolespy market, below, shows what is in play.




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Avadel Pharmaceuticals Announces Tentative Approval of LUMRYZ™ (sodium oxybate) extended-
release oral suspension
July 19, 2022

                                              - Validates the safety profile and clinical efficacy of LUMRYZ

                                                    - Pursuing strategies to accelerate final approval

DUBLIN, Ireland, July 19, 2022 (GLOBE NEWSWIRE) -- Avadel Pharmaceuticals plc (Nasdaq: AVDL), a biopharmaceutical company focused on
transforming medicines to transform lives, today announced that the U.S. Food and Drug Administration (FDA) has granted tentative approval to
LUMRYZ, also known as FT218. Tentative approval indicates that LUMRYZ has met all required quality, safety, and efficacy standards necessary for
approval in the U.S. Final approval is pending disposition of U.S. Patent No. 8,731,963 (the “REMS patent”) which is listed in FDA’s Orange Book.
LUMRYZ is a once-at-bedtime investigational formulation of sodium oxybate for the treatment of excessive daytime sleepiness (EDS) or cataplexy in
adults with narcolepsy.

“We have reached a critical milestone, as tentative approval confirms the safety profile and clinical efficacy of LUMRYZ for adults with narcolepsy,”
said Greg Divis, Chief Executive Officer at Avadel Pharmaceuticals. “Tentative approval is an important regulatory step forward and indicates LUMRYZ
could potentially be granted final approval in 11 months or less. We believe once-at-bedtime LUMRYZ offers the opportunity to positively transform the
lives of oxybate eligible patients living with narcolepsy. Our extensive market research indicates Avadel is well-positioned to capture significant share
of the oxybate eligible patient population which we estimate to be in excess of 30,000 patients. We are pursuing all options to accelerate final approval
on or before June 2023 and prepare for commercial launch.”

With tentative approval now secured, Avadel is continuing the following actions, including those that can potentially accelerate FDA’s final approval
decision and shorten the timeline between approval and launch of LUMRYZ:

        Filed a motion in the U.S. District Court for the District of Delaware on June 23, 2022, to delist the REMS patent from
        FDA’s Orange Book. A court order requiring the patent holder to delist the REMS patent from the Orange Book could
        provide a pathway for a final approval of LUMRYZ prior to June 2023.
        Preparing for a claim construction hearing (“Markman hearing”) scheduled for August 31, 2022, that the Court previously
        stated is needed in order to rule on the pending patent delisting motion.
        Continuing key activities in anticipation of final approval, including planning for the final preparation of the LUMRYZ REMS
        program and the continued manufacturing of commercial supply.

Based on extensive patient and physician research, Avadel estimates the total patient population could be greater than 30,000, and expects LUMRYZ,
if approved, to be the treatment of choice for patients suffering from narcolepsy-related EDS or cataplexy. The current twice-nightly U.S. narcolepsy
oxybate market is estimated at $1.8 billion comprised of approximately 16,000 patients. In addition, Avadel estimates that in the last three years,
10,000 – 15,000 patients have discontinued their twice-nightly oxybate use, many due to complications associated with middle of the night dosing.
Furthermore, based on an analysis of U.S. claims data, the Company believes that each year approximately 3,000 patients initiate oxybate treatment
for the first time and expects this to grow by 25-50% over time with the introduction of LUMRYZ. Based on the estimated total patient population, the
potential market opportunity could be in excess of $3.0 billion annually.

About LUMRYZ
LUMRYZ is an investigational formulation of sodium oxybate leveraging our proprietary drug delivery technology and designed to be taken once at
bedtime for the treatment of EDS or cataplexy in adults with narcolepsy.

In March 2020, Avadel completed the REST-ON trial, a randomized, double-blind, placebo-controlled, pivotal Phase 3 trial, to assess the efficacy and
safety of LUMRYZ in adults with narcolepsy. Among the three co-primary endpoints, LUMRYZ demonstrated statistically significant and clinically
meaningful results in EDS, the clinician’s overall assessment of the patient’s functioning, and reduction in cataplexy attacks for all three evaluated
doses compared to placebo.

In January 2018, the FDA granted LUMRYZ Orphan Drug Designation for the treatment of narcolepsy based on the plausible hypothesis that LUMRYZ
may be clinically superior to the twice-nightly formulation of sodium oxybate already approved by the FDA for those with narcolepsy due to the
consequences of middle-of-the-night dosing of the approved product.

On July 18, 2022, the FDA tentatively approved the LUMRYZ NDA for the treatment of cataplexy or excessive daytime sleepiness (EDS) in adults with
narcolepsy. Final approval of LUMRYZ cannot be granted until the expiration or other disposition of U.S. Patent No. 8,731,963, which expires on June
17, 2023.

Avadel is currently evaluating the long-term safety and tolerability of LUMRYZ in the open-label RESTORE clinical study. For more information, visit:
www.restore-narcolepsy-study.com.

About Avadel Pharmaceuticals plc
Avadel Pharmaceuticals plc (Nasdaq: AVDL) is a biopharmaceutical company focused on transforming medicines to transform lives. Our approach
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includes applying innovative solutions to the development of medications that address the challenges patients face with current treatment options. Our
current lead drug candidate, LUMRYZ, is an investigational formulation of sodium oxybate leveraging our proprietary drug delivery technology and
designed to be taken once at bedtime for the treatment of excessive daytime sleepiness and cataplexy in adults with narcolepsy. For more information,
please visit www.avadel.com.

Cautionary Disclosure Regarding Forward-Looking Statements
This press release includes “forward-looking statements” within the meaning of Section 27A of the Securities Act of 1933 and Section 21E of the
Securities Exchange Act of 1934. These forward-looking statements relate to our future expectations, beliefs, plans, strategies, objectives, results,
conditions, financial performance, prospects, or other events. Such forward-looking statements include, but are not limited to, the timing and receipt of
final approval from the FDA of the LUMRYZ NDA, the results of the Company’s efforts to accelerate the FDA’s final approval decision and to accelerate
the timing between approval and launch, if approved. In some cases, forward-looking statements can be identified by the use of words such as “will,”
“may,” “could,” “believe,” “expect,” “look forward,” “on track,” “guidance,” “anticipate,” “estimate,” “project,” “next steps” and similar expressions, and
the negatives thereof (if applicable).

Our forward-looking statements are based on estimates and assumptions that are made within the bounds of our knowledge of our business and
operations and that we consider reasonable. However, our business and operations are subject to significant risks, and, as a result, there can be no
assurance that actual results and the results of our business and operations will not differ materially from the results contemplated in such forward-
looking statements. Factors that could cause actual results to differ from expectations in our forward-looking statements include the risks and
uncertainties described in the “Risk Factors” section of Part I, Item 1A of our Annual Report on Form 10-K for the year ended December 31, 2021,
which we filed with the Securities and Exchange Commission on March 16, 2022, and subsequent SEC filings.

Forward-looking statements speak only as of the date they are made and are not guarantees of future performance. Accordingly, you should not place
undue reliance on forward-looking statements. We do not undertake any obligation to publicly update or revise our forward-looking statements, except
as required by law.

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  1.7.1 Fast Track Designation




  TITLE PAGE
                       Request for Fast Track Designation
                                       for
                      Sodium Oxybate for Extended-Release
                            Oral Suspension (FT218)


                        For the Treatment of Cataplexy and
                           Excessive Daytime Sleepiness
                                   In Narcolepsy



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  1.         INTRODUCTION
  Oxybate, also known as gamma-hydroxybutyric acid (GHB) was discovered in 1960. GHB is a
  metabolite of gamma-aminobutyric acid (GABA), which is synthesized by neurons in the brain
  and functions as a neurotransmitter. GHB is a central nervous system (CNS) depressant and
  produces dose-dependent sedation and anesthesia in laboratory animals (WHO 2012). GHB is
  used for the treatment of narcolepsy and alcohol withdrawal and has recently been proposed as
  an experimental therapeutic for depression (Liechti 2016). GHB has also received increasing
  attention due to its use as a recreational substance (Brailsford 2016).
  The sodium salt of GHB, sodium oxybate, has been described as a therapeutic agent with high
  medical value (Fuller 2004, U.S. Xyrem® Multicenter Study Group 2004). In Europe and the
  U.S., sodium oxybate is currently indicated for the treatment of cataplexy and excessive daytime
  sleepiness (EDS) in patients with narcolepsy at doses up to 9.0 g/night (Xyrem® Summary of
  Product Characteristics (SmPC) 2015, Xyrem® U.S. Package Insert 2018). A recent post hoc
  analysis confirmed that sodium oxybate treatment results in improved sleep continuity and
  nocturnal sleep quality in patients with narcolepsy (Roth et al. 2017). Moreover, sodium oxybate
  treatment is associated with improvements in resistance to sleep and sustained attention in
  narcoleptic patients (van Schie 2016).
  In the U.S., the Food and Drug Administration (FDA) approved, in 2002, Xyrem ® (sodium
  oxybate) oral solution as an orphan drug for the treatment of cataplexy in adult patients with
  narcolepsy (Xyrem® U.S. Package Insert 2018). In 2005, this approval was extended to the
  treatment of EDS in adults with narcolepsy, and, in 2018, it was further extended to the pediatric
  population. In Europe, sodium oxybate was granted Orphan Drug Designation in February 2003.
  The European Commission issued a decision in 2005 for its marketing authorization for the
  treatment of cataplexy in adult patients with narcolepsy that was extended in 2007 to the
  treatment of EDS in adults with narcolepsy (Xyrem® SmPC 2015). The orphan designation was
  withdrawn from the Community Register of designated orphan medicinal products in January
  2010 on request of the sponsor.
  Sodium oxybate has also been approved in different countries for various purposes, such as
  general anesthesia and treatment of alcohol withdrawal and addiction. Potential additional
  benefits of sodium oxybate include the treatment of symptoms of idiopathic hypersomnia ( Leu-
  Semenescu 2016).
  Xyrem® is administered in two equal oral doses twice nightly. The first dose is administered
  prior to bedtime with the second dose requiring the patient to wake 2.5-4 hours later to take a
  second dose (Xyrem® U.S. Package Insert 2018), which is inconvenient and may jeopardize
  sleep structure architecture and sleep quality. Requiring a second nightly dose may also affect
  compliance, resulting in decreased efficacy and poorer quality of life. Additionally, the second
  dose can result in adverse events in the middle of the night, ranging from nausea/vomiting
  (potentially increasing aspiration risk) to falls (increasing fracture risk). Leaving a prepared,
  unattended second dose out in the middle of the night also poses a risk of misuse as it could be
  taken by others (i.e., college students, roommates, children, etc.) living with the intended user.
  Flamel Ireland Limited dba Avadel Ireland (Avadel) is developing FT218, an extended-release
  formulation of sodium oxybate that allows for a single dose prior to bedtime that mitigates the




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  1.7.1 Fast Track Designation


  need to interrupt sleep to take a second dose and potentially provides a safer alternative by
  avoiding middle of the night dosing and associated adverse events.


  2.         SERIOUS /LIFE-THREATENING CONDITION

  2.1.       Symptoms of Narcolepsy
  The hallmark symptom of narcolepsy is EDS and is hence required for the diagnosis . It is also
  the most troublesome symptom and the one for which patients most commonly seek treatment.
  EDS is defined as the inability to stay awake and alert during the day, resulting in periods of
  involuntary sleep episodes or unintended lapses into “drowsiness” during activities of daily
  living (Thorpy 2012). In narcolepsy, EDS can exist despite adequate nighttime sleep. The
  chronic and severe nature of EDS predisposes these patients to deficits in multiple areas of
  functioning. When alertness is compromised, performance may be diminished across a variety
  of cognitive functions, work-related safety may be compromised, and productivity and overall
  quality of life may suffer. It is possible that performance deficits may precipitate reduced patient-
  reported quality of life and difficulty with achievement in work and/or school. Beyond this, the
  sleepiness can be so omnipresent as to cause patients to socially withdraw, making relationships
  with family and friends difficult to maintain and potentially strained.
  Cataplexy, in the presence of EDS, is suggestive of type 1 narcolepsy and an indication for
  objective testing to confirm the diagnosis (Sansa et al. 2016). Cataplexy is defined as a sudden
  muscle weakness episode and can affect a few muscles (for example, facial muscles) or all
  skeletal muscles at once (Dauvilliers et al. 2014). As a result of the muscle weakness, patients
  momentarily have head nodding from weakness in the neck muscles, sagging of the jaw,
  buckling of the knees, dropping of objects from hands, and/or dysarthria or inability to speak
  during the episode. Sometimes they may slump or fall forward onto the ground, either all at once
  or more gradually.
  Cataplexy attacks are typically brief, on average, lasting from milliseconds to 1-2 minutes.
  Cataplexy is typically triggered by emotions, most often by telling or hearing a joke, laughing, or
  becoming angry. These emotions have been combined to successfully identify cataplexy among
  cases and lack of cataplexy among controls with remarkable specificity. At initial presentation
  and close to symptom onset, and especially in children and teenagers, the onset of a cataplexy
  attack may not be precipitated by an emotional trigger and can happen almost spontaneously,
  termed then atypical cataplexy. It is unclear as to how and why the frequency or severity of
  cataplexy varies across patients and may or may not change over time (Dauvilliers et al. 2014).
  The onset of cataplexy typically occurs after the onset of EDS. Less frequently it can occur
  years after the EDS. Aside from the emotional triggers for cataplexy attacks, withdrawal from
  rapid eye movement (REM)-suppressing drugs may also cause them (Dauvilliers et al. 2014).
  DNS is the second most common symptom among narcolepsy patients after EDS (Mitler 1994).
  The DNS observed in narcolepsy is distinct from that seen in insomnia. While patients with
  insomnia have difficulty falling asleep at the beginning of the night and after nocturnal
  awakening, patients with narcolepsy fall asleep faster than insomniacs and even the general
  population. DNS in narcolepsy is characterized by frequent brief awakenings or shifts to lighter
  stages of sleep during the sleep period that are transient, with increased Stage 1 sleep, and


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  reduced deeper stages of sleep. Often this leaves patients feeling poorly rested or that their sleep
  was not refreshing. The contribution of DNS to the EDS in narcolepsy is not well understood.
  Additional symptoms completing the narcolepsy pentad include hypnagogic/hypnopompic
  hallucinations (HH) (vivid dreams at sleep onset or offset that are more often associated with
  negative emotions) and sleep paralysis (feeling unable to move the body during transition
  periods of sleep; SP) (Roth et al. 2013). These may occur simultaneously and are often
  frightening to the patient. More specific for narcolepsy is their occurrence at sleep onset. Like
  cataplexy, SP and HH are REM-related phenomena. Thus, experiencing them at sleep onset is
  rare in the general population.


  3.         BASIS FOR UNMET MEDICAL NEED

  3.1.       Disadvantages of Currently Available Treatments
  No cure exists for narcolepsy to date. Current treatments are symptomatic and are not directed
  towards any known pathophysiological target. Available treatments include wake-promoting
  agents (stimulants or sympathomimetics, modafinil, armodafinil, pitolisant, solriamfetol) which
  treat EDS, REM-suppressing drugs (tricyclic antidepressants [TCAs], serotonin and
  norepinephrine reuptake inhibitors [SNRIs], selective serotonin re-uptake inhibitors [SSRIs],
  monoamine oxidase inhibitors [MAOIs]) to treat cataplexy as well as HH and SP, and sodium
  oxybate which is effective for EDS and cataplexy as well as all other accessory symptoms. The
  severity of symptoms can vary greatly from one patient to another and, thus, the response to any
  given medication similarly varies from patient to patient.
  Wake-promoting agents (e.g., modafinil, armodafinil, methylphenidate, dextroamphetamine,
  methamphetamine, pitolisant, solriamfetol) improve EDS in narcolepsy (Barateau et al. 2016,
  Roth et al. 2013, Sangal 1992). In diagnosed patients, modafinil
                                                                 .
                                                                     and armodafinil (the more
  potent R-enantiomer of modafinil, not available in Europe) are often the first- line treatments
  prescribed to reduce EDS. In the absence of response to modafinil, methylphenidate is an
  effective second-line treatment for EDS. Amphetamines are potential alternatives for patients
  who do not respond satisfactorily to the first- and second-line stimulant options. Pitolisant is a
  treatment option approved in the U.S. in 2019 that belongs to a novel drug class and is indicated
  for the treatment of EDS in patients with narcolepsy as first or second choice. Solriamfetol is a
  dopamine and norepinephrine reuptake inhibitor (DNRI) that is another treatment option
  approved in the U.S. in 2019 indicated to improve wakefulness in adult patients with EDS with
  narcolepsy or obstructive sleep apnea. Some patients may need a combination of drugs or a
  mixture of short- and longer-acting medications for optimal treatment. This is evident by the fact
  that stimulants improve EDS, but they do not normalize it, as confirmed by patient reports in
  systematic studies (Nishino 2008, Xyrem® International Study Group 2005). Importantly, in
  previous Xyrem® (twice-nightly sodium oxybate) studies, up to 83% of patients who entered the
  study were on concomitant stimulants, yet still needed additional treatment for excessive daytime
  sleepiness and met stringent entry criteria for having persistent excessive daytime sleepiness
  despite stimulant use (U.S. Xyrem® Multicenter Study Group 2002). Similarly, in our Phase 3
  study, patients were allowed to enter the study on stable doses of stimulants. At Baseline, well
  over half of the patients were on concomitant stimulants yet still had severe excessive daytime
  sleepiness as evident by Baseline MWT less than 11 minutes and ESS >10.


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  Potent REM-suppressing antidepressants (i.e., SNRIs, SSRIs, TCAs and MAOIs) are used to treat
  cataplexy as well as HH and SP; however, the efficacy of these drugs in treating cataplexy has not
  been established in controlled clinical studies and their use (based on experience from off-label
  use) has not been approved by any regulatory agency.
  Despite the number of therapeutic options, narcolepsy medications are often not fully e ffective
  and multiple treatments, such as antidepressants to treat cataplexy and one or more wake-
  promoting agent to treat EDS, are often required to address the variety of symptoms in
  narcolepsy (Abad and Guilleminault 2017). This increases the complexity of dosing regimens,
  likelihood of noncompliance and adverse events, and potential for drug interactions. Many
  patients have also had to give up beneficial treatments because of intolerable side effects or
  because they developed tolerance. Particularly, rebound cataplexy has been observed with the
  discontinuation of antidepressant therapy and it may last for several weeks. The use of
  stimulants can cause abuse or dependence in addition to tachycardia, urinary retention, and
  increased anxiety in some individuals (Mignot 2012). These adverse effects can deter patients
  from adhering to a multiple-treatment approach. Thus, there remains a need for new treatments
  that are safer, with simpler dosing regimens.

  3.2.       Comparison of FT218 to Approved Sodium Oxybate Formulations
  Although these above treatments can be combined to treat the symptoms of narcolepsy, sodium
  oxybate can be a first-line treatment for both excessive daytime sleepiness and cataplexy in
  narcolepsy, while all other agents are indicated for one symptom or the other. Additionally ,
  sodium oxybate is effective to treat the other accessory symptoms of narcolepsy, including HH,
  SP, and disturbed sleep (Bhattarai and Summerall 2017). Sodium oxybate (Xyrem ®) is approved
  in the U.S. for the treatment of cataplexy in adults and for patients seven years of age and older
  with NT1, as well as for EDS in both types of narcolepsy. However, the twice nightly dosing
  regimen for Xyrem® is inconvenient, disrupts continuous sleep, can result in poor compliance
  which could lead to worsening efficacy and quality of life, and is associated with additional
  adverse events in the middle of the night both resulting from waking up from a deep sleep state
  as well as a second, high Cmax.
  Individuals suffering from fragmented sleep and an overall sleep deficit consider the elimination
  of the need to carefully time and wake up for a second nighttime dose to be a substantial
  advancement in therapy. In a survey of 1350 individuals impacted by narcolepsy, the results of
  which were distributed at the September 24, 2013 FDA Meeting on Drug Development for
  Narcolepsy, responses to a question about an ideal therapy included, “a drug that would provide
  consistent and adequate control of the daytime sleepiness without the hard crash and one that
  would require one dose taken at bedtime resulting in 8 hours of restorative sleep” (Unite
  Narcolepsy 2013).
  FT218 is a once-nightly extended-release formulation of sodium oxybate that obviates the need
  for awakening during the night to take a second dose.           REDACTED

                 REDACTED




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  Figure 1:      Mean Plasma GHB Concentration (μg/mL) – Time Profiles after a Single
                 Oral Administration of 6 g of FT218 or Two 3 g Administrations of Xyrem®



  REDACTED

  FT218 obviates the need for middle of the night awakening for a second nightly dose which
  could result in improvement in patient efficacy, safety, compliance and misuse. TREDACTED



  3.2.1.      Compliance Issues Related to Second Dose
  Xyrem® has a short half-life (0.5-1 hour) and a duration of action of only 2-4 hours necessitating
  twice-nightly dosing in order to achieve 6-8 hours of nighttime sleep (Mignot 2012). Patients
  who consume a dose at bedtime are required to awaken and take another dose in the middle of
  the night. Current labeling for Xyrem ® states that patients may need to set an alarm to awaken
  for the second dose. If the window for the second dose (2.5-4 hours after the first dose) is
  missed, patients are instructed to skip the second dose because of the potential substantial
  negative effects of a late second dose on functioning/alertness the following day.
                                         REDACTED




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  1.7.1 Fast Track Designation

                                 REDACTED




 REDACTED


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  1.7.1 Fast Track Designation




REDACTED




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REDACTED
  The need to set an alarm for a second nighttime dose also disrupts the sleep of roommates and
  partners who share a bedroom with an affected individual. A parent or caregiver may be
  adversely impacted by the need for nighttime dosing and burdened by concern that the patient
  will not reliably awaken.                           REDACTED




                                                                       Therefore, not only does
  waking up in the middle of the night affect the patient, it also decreases the quality of life of their
  bed-partner. A once-nightly formulation of sodium oxybate would eliminate this issue for
  partners and caregivers.




REDACTED
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  1.7.1 Fast Track Designation




REDACTED


REDACTED
  3.2.2.     Risk of Nocturnal Falls and Other Adverse Events Associated with Second Dose
  Administration of a second nightly dose of Xyrem ® presents safety risks. First, forcibly waking
  up from a sodium oxybate-induced deep sleep poses additional safety risks as one may get out of
  bed, ambulate and fall with subsequent injury resulting from a drug-induced groggy or stuporous
  state. Secondly, because of the rapid onset of effects, individuals are at risk of falls or other
  accidental injuries if the second dose is not consumed in bed (as is recommended in the label
  instructions). This risk was acknowledged by the FDA in a 2013 review of the Xyrem ® post-


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  marketing data and was addressed by revision to the labeling language to address the risk of
  nocturnal falls. The label was updated to specify that patients should remain in bed following
  ingestion of the second dose; the prior version of the label already included these instructions
  with respect to the first dose.
  Avadel reviewed FDA’s Adverse Event Reporting System (FAERS) data for Xyrem® cases from
  2003 through September 30, 2019. There have been 1957 cases including the adverse event of
  fall and any other event, 625 cases including adverse events of fall and fracture, and 35 cases of
  fall as the only adverse event. Through the Freedom of Information Act (FOIA), Avadel
  requested individual cases from the FDA related to falls and fracture with event dates ranging
  from 2016-2019. All cases requested were determined to be serious, indicated that Xyrem® was
  the suspect product, and were reported by healthcare professionals. To date, Avadel has
  reviewed 36 cases (12 requested per month) and 4 cases have adverse events linked to the second
  nightly dose of Xyrem®. Three patients got out of bed and fell, one breaking her wrist, one
  broke three bones in her face, and the third fractured her ankle. The fourth case involved a
  patient that passed out in the middle of the night after taking her second dose of Xyrem®.
  In the real-world study mentioned above, Side Effects & Safety was the second highest
                                          REDACTED




                                         REDACTED


  In addition, a meta-analysis of six studies conducted to assess the pharmacokinetics of FT218 in
  healthy volunteers found that, in general, known adverse events associated with sodium oxybate
  (i.e., neurological and gastrointestinal) occurred close to Tmax, around the Cmax period
  (approximately 1.5-2.0 hours after dosing) (Seiden et al. 2020). Since it appears that the AEs
  were related to Cmax and FT218 has only one Cmax compared to Xyrem®, it is hypothesized that
  FT218 will have a more favorable safety profile compared to twice-nightly dosing by avoiding a
  second Cmax and the types of AEs described above.                    REDACTED


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  REDACTED




  3.2.3.     Risk of Misuse Associated with Second Dose
  The Xyrem® instructions for use direct patients to measure out both nightly doses prior to
  bedtime and place the second dose near the bed for consumption 2.5-4 hours after the first dose.
  Although a container with child-resistant cap is provided for the second dose, there is the
  potential for consumption of the product left on a bedside table by a child while the parent is
  sleeping – if the child-resistant container is not used – or deliberate misuse by another person in
  the household.                                  REDACTED



  3.2.4.     Potential Impact on Diversion
  Sodium oxybate has a history of illicit use as the “date-rape drug.” This substance has been  REDACTED

  added to a target’s drink without his/her knowledge in order to incapacitate the individual.




  3.2.5.     Food Effect
                                         REDACTED




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                                  REDACTED


  3.2.6.      Summary
  The availability of once-nightly FT218 has the potential to eliminate the obvious disadvantages
  associated with twice-nightly sodium oxybate, including:
       1. The need to disrupt patient and bed-partner/caregiver sleep in order to take a drug
          designed to promote sleep
       2. The potential for safety events (e.g. falls) associated with middle of the night dosing
          related to waking up from a GHB-induced sleep as well as a second, larger Cmax that is
          associated with other adverse events (nausea/vomiting)
       3. The potential for decreased efficacy if the second dose is missed
       4. The potential for less efficacy resulting from eating too close to dosing
       5. The potential for misuse by leaving the second dose unattended at the bedside


  4.          DEVELOPMENT PLAN
                                       REDACTED




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                                          REDACTED




  5.         CONCLUSION
  As described above, narcolepsy is a serious condition associated with significant morbidity that
  has substantial impact on day-to-day functioning. While treatments do exist, none have fully met
  all of the needs of the patient population in a convenient dosing regimen. Avadel is developing a
  once-nightly sodium oxybate formulation that is expected to have comparable efficacy to the
  currently approved Xyrem ® (when dosed as recommended), but will address major compliance
  and safety issues associated with the necessity to take a second dose in the middle of the night , as
  well as potentially reducing misuse/diversion of the product. As such, Avadel is requesting Fast
  Track designation for FT218 on this basis.


  6.         LIST OF RELEVANT DOCUMENTATION TO SUPPORT
             DESIGNATION REQUEST
  Seiden D, Grassot J, Monteith D, and Dubow J. The Pharmacokinetic-Adverse Event
  Relationship For FT218, a Once-Nightly Sodium Oxybate Formulation. Accepted to the
  American Academy of Neurology Annual Meeting, April 25 – May 1, 2020, Toronto, CA.




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  APPENDIX A. THE PHARMACOKINETIC-ADVERSE EVENT
              RELATIONSHIP FOR FT218, A ONCE-NIGHTLY
              SODIUM OXYBATE FORMULATION (SEIDEN ET AL.
              2020)
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   The Pharmacokinetic-Adverse Event Relationship For FT218, a Once-Nightly Sodium Oxybate
   Formulation


   Seiden D, Grassot J, Monteith D, Dubow J

   Objective
   To evaluate the pharmacokinetic-adverse event (AE) relationship for FT218, an investigational once-
   nightly sodium oxybate formulation.

   Background
   Sodium oxybate is an effective treatment for excessive daytime sleepiness and cataplexy in patients
   with narcolepsy. The approved formulation requires twice-nightly dosing: at bedtime and 2.5 – 4
   hours later, which results in two distinct Cmax’s. FT218 is a controlled-release formulation of sodium
   oxybate intended for once-nightly dosing, using Avadel’s proprietary Micropump™ technology.

   Design/Methods
   Six single-dose, randomized, crossover studies that assessed the pharmacokinetics of FT218 at 4.5, 6,
   7.5 and 9 g in healthy voluntters were used in this analysis. Lattice plots, “spaghetti” plots, and
   scatter plots of individual gamma hydroxybutyrate concentrations and indicators when AEs by
   system, organ, or class (SOC) were created to determine any PK-AE relationship.


   Results
   A total of 129 healthy volunteers received single doses of FT218 between 4.5 – 9 g. Most AEs,
   specifically for the neurological and gastrointestinal SOC, occurred close to Tmax, during the Cmax
   period, which for FT218 was around 1.5-2 hours after dosing. These AEs were known AEs associated
   with sodium oxbyate. There appeared to be no clear correlation between individual plasma GHB
   concentrations levels and AEs between subjects. Individual AEs were equally distributed above and
   below the mean population Cmax and AUCinf for the dataset.


   Conclusion
   In general, adverse events for FT218 occurred around Tmax. There was no clear population
   toxicokinetic range for when AEs occur with FT218, but mostly individual thresholds. Since it appears
   AEs are related to Cmax, and FT218 only has one Cmax compared to two with the currently available
   product, it is hypothesized that FT218 will have a favorable safety profile compared to twice-nightly
   dosing. The efficacy and safety of FT218 for the treatment of excessive daytime sleepiness and
   cataplexy in narcolepsy patients is currently being evaluated in the Phase 3 REST-ON pivotal study.
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                          IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE


    JAZZ PHARMACEUTICALS, INC.,

                    Plaintiff,
                                                        C.A. No. 21-691-GBW
                             v.

    AVADEL CNS PHARMACEUTICALS, LLC,

                    Defendant.


                                  RULE 7.1.1 CERTIFICATION

          Pursuant to D. Del. LR 7.1.1, counsel for the parties met and conferred regarding

  Defendant’s foregoing motion, including verbally by teleconference with Delaware counsel, and

  the parties were unable to reach an agreement on the relief sought therein.




   Dated: September 12, 2022                        MCCARTER &ENGLISH, LLP

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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE


    JAZZ PHARMACEUTICALS, INC.,

                  Plaintiff,
                                                      C.A. No. 21-691-GBW
                            v.

    AVADEL CNS PHARMACEUTICALS, LLC,

                  Defendant.


        [PROPOSED] ORDER REGARDING AVADEL’S MOTION TO EXPEDITE

         This _____ day of ____________________, 2022, upon consideration of Defendant

  Avadel CNS Pharmaceuticals, LLC Motion to Expedite Consideration of Avadel’s Renewed

  Motion for Partial Judgment on the Pleadings (the “Motion to Expedite”), IT IS HEREBY

  ORDERED THAT:

            1. The Motion to Expedite is GRANTED.

            2. The Court will expedite consideration of Avadel’s pending Renewed Motion for

                Judgment on the Pleadings pursuant to Fed. R. Civ. P. 12(c) (D.I. 117) (the “Rule

                12(c) Motion”) and issue a ruling as soon as possible.

            3. The Court will hold a [telephonic/in-person] conference on September ___, 2022

                at _____ a.m./p.m. to address the Rule 12(c) motion, and to the extent necessary,

                any related claim construction disputes for U.S. Patent No. 8,731,963 (the “’963

                patent”).




                                              ________________________________
                                              UNITED STATES DISTRICT JUDGE
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                                 CERTIFICATE OF SERVICE

          The undersigned counsel hereby certifies that true and correct copies of the foregoing

  document were caused to be served on September 12, 2022 on the following counsel in the

  manner indicated below.

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